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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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McCONNELL DORCE, CECELIA JONES, and
SHERLIVIA THOMAS-MURCHISON,
individually and on behalf of all others similarly
situated,
                                                         Civil Action No. 1:19-cv-02216-JGK
                              Plaintiffs,
                  v.
                                                              AMENDED COMPLAINT
CITY OF NEW YORK, LOUISE CARROLL
(Commissioner of the New York City Department of             JURY TRIAL DEMANDED
Housing Preservation and Development), SHERIF
SOLIMAN (Commissioner of the New York City
Department of Finance), NEIGHBORHOOD
RESTORE HOUSING DEVELOPMENT FUND
CORP., and BSDC KINGS COVENANT
HOUSING DEVELOPMENT FUND COMPANY,
INC.,

                              Defendants,

                   -and-

585 NOSTRAND AVENUE HOUSING
DEVELOPMENT FUND CORPORATION and 248
MADISON STREET HOUSING DEVELOPMENT
FUND CORPORATION,

                              Nominal Defendants.

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       Plaintiffs McConnell Dorce, Cecelia Jones, and Sherlivia Thomas-Murchison (collectively

“Plaintiffs”), on behalf of themselves and all others similarly situated, by and through their

attorneys, bring this action against defendants the City of New York (the “City”), Louise Carroll 1,




1
 The original complaint names Maria Torres-Springer as a defendant. As a result of Maria Torres-
Springer’s separation from office, Louise Carroll as her successor is “automatically substituted as
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Commissioner of the New York City Department of Housing Preservation and Development

(“HPD”); Sherif Soliman, Commissioner of the New York City Department of Finance (“DOF,”

and together with the City and HPD, referred to herein as the “Municipal Defendants”);

Neighborhood Restore Housing Development Fund Corp. (“Neighborhood Restore”), and Bridge

Street Kings Covenant Housing Development Fund Company, Inc. (“Bridge Street,” together with

Neighborhood Restore “TPT Defendants,” and collectively with the Municipal Defendants,

“Defendants”). Plaintiffs Cecelia Jones and Sherlivia Thomas-Murchison also name 585 Nostrand

Avenue Housing Development Fund Corporation2 (“585 Nostrand Avenue HDFC”) and 248

Madison Street Housing Development Fund Corporation (“248 Madison Street HDFC”),

respectively, as nominal parties (“Nominal Parties”), in the alternative, in the event that the Court

rules that the claims asserted by Ms. Jones and Ms. Thomas-Murchison are not maintainable as

direct actions.




a party,” and later proceedings such as the instant amended complaint “should be in the substituted
party’s name.” Fed. R. Civ. P. 25(d).
2
  A Housing Development Fund Corporation (“HDFC”) is an entity organized pursuant to Section
573 of Article XI of the New York State Housing Finance Law as a cooperative corporation for
the purpose of housing improvement and long-term homeownership for low-income individuals
and families. Generally, an HDFC’s sole asset is a multi-family residential building, and
shareholders of the HDFC own and reside in cooperative apartment units in the building that are
appurtenant to their shares and their share value. Each HDFC is customarily managed and operated
by a board of directors that is made up of residents of the building owned by the HDFC. Under
New York law, Defendant HPD is designated as the “supervising agency” of all HDFCs developed
and operated within New York City, and owes various duties to HDFCs and their resident
shareholders.


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                                        INTRODUCTION

       1.      The City’s Third Party Transfer Program (the “TPT Program”) 3 is an

unconstitutional and fundamentally unfair process designed to seize property owned largely by

elderly persons of color, divesting them of the value and long-term security, and of the opportunity

for upward mobility, that is inherent in their ownership of a home. Plaintiffs and members of the

putative class had their homes taken by Defendants pursuant to the TPT Program. Plaintiffs bring

this putative class action to seek redress for this unconstitutional and discriminatory conduct.

       2.      Pursuant to the TPT Program, the Municipal Defendants seize private property

through in rem foreclosure proceedings and convey the property for free to real estate developers—

such as Defendants Neighborhood Restore and Bridge Street—that are formed, guided, and/or

hand-picked by the City for participation in the TPT Program.

       3.      The purported basis for these seizures is overdue taxes. Municipal Defendants have

taken the position that they can take anybody’s property so long as, allegedly, (i) the property

owner owes taxes and (ii) the property is physically near a statutorily “distressed” property (i.e. a

property that (a) has accrued at least 15% of its value in tax liens and (b) has five or more housing

code violations or an unpaid lien of at least $1,000 in for work to repair or eliminate a dangerous

or unlawful condition).

       4.      Tax collection is merely a pretext for taking the properties because Municipal

Defendants collect no taxes from the TPT Program’s seizures. For example, if Municipal

Defendants seize a $2 million property with $3,000 in tax debt, under the TPT Program, the City

receives no payment of the $3,000 tax debt and does not retain the property, while the TPT


3
  The TPT Program is codified at Title 11, Chapter 4 of the New York City Administrative Code
(the “Code”), as amended by Local Law 37 of 1996 and Title 28, Chapter 8 of the Rules of the
City of New York (“Local Law 37”).


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Defendants or other developers receive an unencumbered $2 million property in exchange for a

promise to provide “affordable” housing. The property owner receives nothing. 4 There is no

process or procedure for the property owner to reclaim the excess value in his property above the

amount of tax liens on the property (the “Surplus Equity”).

       5.      Defendants’ exploitation of the TPT Program has gotten worse in recent years.

Defendants have seized dozens of properties at a time through mass in rem foreclosure proceedings

directed against the properties themselves—where the property owners are not party to, and do not

get notice of, the foreclosure proceedings or, at most, receive an opaque notice referencing dozens

of properties subject to seizure. The homes Defendants have seized belong primarily to elderly

and minority homeowners living in communities historically populated by persons of color.

       6.      Plaintiffs seek redress for this unconstitutional and discriminatory conduct,

including damages equal to their Surplus Equity in their properties.

                                         THE PARTIES

Plaintiffs

       7.      At all relevant times, Plaintiff McConnell Dorce has been a resident of Kings

County, New York. Plaintiff Dorce is an elderly retired machinist and former ambulance driver.

Mr. Dorce is a Caribbean American immigrant who came to the United States from Haiti over four

decades ago. His property is located in a community predominantly populated by African

Americans, Caribbean Americans, Hispanic Americans, and Middle Eastern Americans. Mr.


4
  This is no mere hypothetical. See Sarissa Phillips-Singletary, City Council Housing Chair
Expresses Concern Over Mayor’s Plan to Expand Seizure of Private Residential Properties, New
York City Council (Jan. 10, 2019), https://on.nyc.gov/33mIEG3 (Robert E. Cornegy, Jr., New
York City Council Member and Chair of the Council’s Committee on Housing and Buildings,
acknowledging that “the home of a black senior in my community valued at over $2 million was
transferred for outstanding municipal arrears of only $3,000, which turned out to be a record-
keeping error on the part of the City.”).


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Dorce was the owner of 373 Rockaway Parkway, Brooklyn, New York (the “373 Rockaway

Parkway Property”), which is an approximately 3,200 square foot multi-family home located in a

community known as East New York, Brooklyn.

       8.     Municipal Defendants took title to Mr. Dorce’s property, which he owned free and

clear of any mortgage, and transferred it to Neighborhood Restore under the TPT Program,

utilizing the summary in rem foreclosure proceedings of Code § 11-404 et seq. Pursuant to the

TPT Program, on July 14, 2015, the City commenced the mass action In Rem Tax Foreclosure

Action No. 53, Borough of Brooklyn, Index No. 8700/2015 (Sup. Ct. Kings Cty.) (“In Rem 53”)

against a list of over 180 properties that included the 373 Rockaway Parkway Property. Mr. Dorce

received no notice of this lawsuit. On November 27, 2017, New York state court Justice Partnow

signed a proposed judgment drafted by the City against the 373 Rockaway Parkway Property and

64 other properties. The judgment was entered by the Kings County clerk on December 5, 2017.

Mr. Dorce received no notice of this judgment. On February 7, 2018, the City recorded the

judgment in the chain of title of the 373 Rockaway Parkway Property. And the City, through the

DOF, recorded a deed in the chain of title of the 373 Rockaway Parkway Property transferring the

property to Defendant Neighborhood Restore on September 21, 2018.

       9.     Through this process, Mr. Dorce lost title to his property and received no

compensation for his Surplus Equity, even though the value of the 373 Rockaway Parkway

Property far exceeded any putative tax liens. According to DOF’s notice of property value

(“NOPV”), the value of the 373 Rockaway Parkway Property at the time Defendants took it from

Mr. Dorce was approximately $226,000. In reality, the true market value of the 373 Rockaway

Parkway Property was substantially higher. Municipal Defendants assert that as of June 30, 2015

the 373 Rockaway Parkway Property owed $45,132.73 in various tax and water charges.




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       10.     Mr. Dorce did not learn that Defendants had taken title to his property until

approximately September 24, 2018, when agents for Defendant Neighborhood Restore posted

signs in the hallway of the 373 Rockaway Parkway Property notifying Mr. Dorce’s tenants that

the building was under new ownership and management. Mr. Dorce was not provided any

opportunity to claim his Surplus Equity in his property.

       11.     On or about August 3, 2018, eight months after the seizure judgment against the

373 Rockaway Property, HPD demanded and accepted a $8,610.86 payment from Mr. Dorce (by

check made payable to the NYC Water Board) and an additional $8,306.73 (by check made

payable to the Defendant DOF). Even after the transfer of title of 373 Rockaway Parkway to

Neighborhood Restore, the Municipal Defendants continued to demand and accept payments for

373 Rockaway Parkway Property from Mr. Dorce.

       12.     At all relevant times, Plaintiff Cecelia Jones has been a resident of Kings County,

New York. Ms. Jones is an elderly, retired home health aide who worked in New York City for

26 years. She is a Caribbean American immigrant from Guyana, and she moved to the United

States in 1983. Her home is in an HDFC cooperative apartment in Crown Heights in Brooklyn,

where she has lived since 1996. Ms. Jones’s property is located in a community predominantly

populated by African Americans, Caribbean Americans, Hispanic Americans, and Middle Eastern

Americans.

       13.     Plaintiff Cecelia Jones is the holder of 250 shares in 585 Nostrand Avenue HDFC,

which owned the property located at 1197 Dean Street, Brooklyn, New York, which is also known

as 585 Nostrand Avenue (the “585 Nostrand Avenue Property”). The 585 Nostrand Avenue

Property is a four-story multi-unit apartment building, and Ms. Jones had the right to reside in her




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apartment unit 2A—which right is appurtenant to her right as a cooperative shareholder in the 585

Nostrand Avenue HDFC since 1997.

       14.     Ms. Jones’s ownership right was extinguished or otherwise taken by the Municipal

Defendants and transferred to Neighborhood Restore under the TPT Program. The 585 Nostrand

Avenue Property was included in In Rem 53. Ms. Jones received no notice of the In Rem 53

lawsuit. On November 27, 2017, New York state court Justice Partnow signed a proposed

judgment drafted by the City against the 585 Nostrand Avenue Property and 64 other properties.

Ms. Jones received no notice of this judgment. The judgment was entered by the Kings County

clerk on December 5, 2017. On February 7, 2018, the City recorded the judgment from In Rem

53 in the chain of title of the 585 Nostrand Avenue Property. Ms. Jones received no notice of the

In Rem 53 judgment. On September 21, 2018, the City through the DOF recorded a deed in the

chain of title of the 585 Nostrand Avenue Property, effecting the taking and transferring the

property to Defendant Neighborhood Restore.

       15.     This post-judgment transfer divested 585 Nostrand Avenue HDFC of its sole asset,

reduced the value of Plaintiff Jones’ cooperative shares to zero, and converted Ms. Jones to a renter

in her own home. Neither 585 Nostrand Avenue HDFC nor Ms. Jones received any compensation

for their Surplus Equity, even though the value of the 585 Nostrand Avenue Property far exceeded

any putative tax liens. According to DOF’s NOPV, the value of the 585 Nostrand Avenue Property

at the time Defendants took it was approximately $736,000. In reality, the true market value of

the 585 Nostrand Avenue Property was substantially higher.

       16.     Municipal Defendants assert that as of June 30, 2015 the 585 Nostrand Avenue

Property owed $160,760.20 in various tax and water charges. Ms. Jones did not learn that




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Defendants had taken her property until approximately October 2018, and she was not provided

any opportunity to claim her Surplus Equity in her property.

       17.     At all relevant times, Plaintiff Sherlivia Thomas-Murchison has been a resident of

Kings County, New York. Plaintiff Thomas-Murchison is an African American woman, a

hardworking paralegal by training, and her property is located in a community predominantly

populated by African Americans, Caribbean Americans, Hispanic Americans, and Middle Eastern

Americans. Plaintiff Thomas-Murchison was a shareholder in 248 Madison Street HDFC, which

owned the property located at 248 Madison Street, Brooklyn, New York (the “248 Madison Street

Property”). The 248 Madison Street Property is a 4 story multi-unit apartment building and Ms.

Thomas-Murchison had the right to reside in her apartment unit 4L as a cooperative shareholder.

       18.     Ms. Thomas-Murchison is the daughter of Margaret Blow, the former treasurer of

248 Madison Street HDFC, and from whom Plaintiff Thomas-Murchison and her family inherited

an equitable estate interest in unit 4R which was owned and occupied by her mother before her

mother’s death. Plaintiff Thomas-Murchison’s shareholder title and value was extinguished or

otherwise taken by the Municipal Defendants under the TPT Program when the Municipal

Defendants effected a seizure and transfer of the 248 Madison Street Property to Neighborhood

Restore.

       19.     On February 23, 2007, the City commenced the action In Rem Tax Foreclosure

Action No. 51, Borough of Brooklyn, Index No. 8700/2007 (Sup. Ct. Kings Cty.) (“In Rem 51”),

against scores of properties, including the 248 Madison Street Property. Ms. Thomas-Murchison

received no notice of this lawsuit. On October 26, 2011, New York state court Justice Martin

signed the proposed judgment, which the City drafted, as to the 248 Madison Street Property and




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32 other properties. The judgment was entered by the Kings County clerk on or around November

2, 2011. Ms. Thomas-Murchison received no notice of this judgment.

       20.     On December 19, 2011, the City recorded the judgment in In Rem 51 in the chain

of title of the 248 Madison Street Property. On August 24, 2012, the City, acting through

Defendant DOF and pursuant to the judgment, entered a deed in the chain of title of the 248

Madison Street Property, transferring the property to Defendant Neighborhood Restore.

       21.     This post-judgment transfer divested 248 Madison Street HDFC of its sole asset,

reduced the value of Plaintiff Thomas-Murchison’s cooperative shares to zero, and deprived Ms.

Thomas-Murchison of access to her home, rendering her homeless. Neither 248 Madison Street

HDFC nor Ms. Thomas-Murchison received any compensation for their Surplus Equity, even

though the value of the 248 Madison Street Property far exceeded any putative tax liens.

According to DOF’s NOPV, the value of the 248 Madison Street Property at the time Defendants

took it was approximately $398,000. In reality, the true market value of the 248 Madison Street

Property was substantially higher. Municipal Defendants assert that as of January 10, 2007 the

248 Madison Street Property owed $110,352.44 in various charges asserted to be water charges,

property tax charges, and emergency repair charges. Ms. Thomas-Murchison did not learn that

Defendants had taken her property until in or about April 2016, and she was not provided any

opportunity to claim her Surplus Equity in her property. Ms. Thomas-Murchison and her family

were also dispossessed of inheritance rights to the shares of the cooperative which had been owned

by her deceased parents, denying her of the Surplus Equity that she would have inherited.

Defendants

       22.     Municipal Defendants are the City and its agents, including the Commissioner of

the New York City Department of Housing Preservation and Development (“HPD”) and the




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Commissioner of the Department of Finance (“DOF”), that operate the TPT Program by selecting

and seizing numerous properties pursuant to in rem foreclosure proceedings or otherwise

contribute and participate in the scheme to take properties of Plaintiffs and those similarly

situated—primarily elderly minority homeowners—without just compensation.

        23.     Defendant City is a government and municipal entity existing within the boundaries

of the five boroughs of the City of New York, State of New York, and lies within this judicial

district. The City is responsible for the illegal and unconstitutional application of the TPT Program

to Plaintiffs’ properties.

        24.     Defendant HPD is a department of the Defendant City that, among other functions,

selects properties to for the City to seize through the TPT Program and effectuates their seizures

and transfers to favored third party real estate developers.

        25.     Defendant DOF is a department of the Defendant City that selects properties for the

City to seize through the TPT Program and effectuates their seizures and transfers to favored third

party real estate developers. DOF also administers installment plans for homeowners to pay

overdue property taxes and other charges.

        26.     TPT Defendants are real estate developers to whom the City conveys the properties

it seizes through the TPT Program. The City selects real estate developers such as the TPT

Defendants to receive valuable properties for free through the TPT Program. These fortunate real

estate developers are selected by politicians in a non-competitive and conflicted process used to

reward political allies.     For example, Neighborhood Restore’s Board of Directors includes

Elizabeth Oakley, Deputy Commissioner for HPD’s Office of Development. See Missions &

Board, Neighborhood Restore, http://www.neighborhoodrestore.org/about/ (last visited July 27,

2021). On information and belief, the TPT Defendants consult with the Municipal Defendants




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concerning the selection of properties for inclusion in the TPT Program and target properties

generally owned by elderly persons of color.

       27.     Defendant Neighborhood Restore is a New York corporation organized and

existing under the laws of the State of New York, including but not limited to Article XI of the

New York Private Housing Finance Law. Neighborhood Restore operates within the State of New

York and within this judicial district, and maintains its primary place of business at 150 Broadway,

Suite 2101, New York NY 10038. Neighborhood Restore, through coordination with the City,

obtained title to the properties previously owned by Plaintiffs Dorce, Jones, and Thomas-

Murchison when Municipal Defendants transferred those properties under the TPT Program.

       28.     Defendant Bridge Street is a New York corporation organized and existing under

the laws of the State of New York, including but not limited to Article XI of the New York Private

Housing Finance Law. Bridge Street is an affiliate or subsidiary or otherwise controlled or directed

by Bridge Street Development Corporation, a New York corporation organized and existing under

the laws of the State of New York. Bridge Street operates within the State of New York and within

this judicial district, and maintains its primary place of business at 460 Nostrand Avenue,

Brooklyn, New York 11216. Bridge Street, through coordination with the City and Neighborhood

Restore, obtained title to Plaintiff Thomas-Murchison’s property.

Nominal Parties

       29.     585 Nostrand Avenue HDFC is named as a Nominal Party in the event that the

Court concludes that the claims asserted by Plaintiff Cecelia Jones are not maintainable as direct

claims, but must instead be brought derivatively. 585 Nostrand Avenue HDFC is a corporation

organized under the laws of the State of New York.




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       30.     248 Madison Street HDFC is named as a Nominal Party in the event that the Court

concludes that the claims asserted by Plaintiff Sherlivia Thomas-Murchison are not maintainable

as direct claims, but instead must be brought derivatively. 248 Madison Street HDFC is a

corporation organized under the laws of the State of New York.

                                 JURISDICTION AND VENUE

       31.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, which

confers original jurisdiction upon this Court for actions arising under the laws of the United States,

and pursuant to 28 U.S.C. §§ 1343(3) and 1343(4), which confer original jurisdiction upon this

Court in a civil action to recover damages or to secure equitable relief under any Act of Congress

providing for the protection of civil rights and under 42 U.S.C. §§ 1983 et seq.

       32.     Venue is proper in this Court pursuant to 42 U.S.C. §§ 19831 et seq., because this

judicial district lies in a State in which the unlawful practices occurred. Venue is also proper in

this Court pursuant to 28 U.S.C. § 1391(b)(1) and (c), because Defendants maintain facilities,

conduct business, and reside in this district.

       33.     The Court’s supplemental jurisdiction is invoked pursuant to 28 U.S.C. § 1367(a),

which confers supplemental jurisdiction over all non-federal claims arising from a common

nucleus of operative facts such that they form part of the same case or controversy under Article

III of the United States Constitution.

                     BACKGROUND AND FACTUAL ALLEGATIONS

New York State’s In Rem Grant to Municipalities

       34.     Legislation creating the TPT Program was presented to the New York City Council

by HPD in 1996 as amendments to the in rem tax-lien collection provisions of New York City

local law, which provisions were previously promulgated pursuant to New York State’s grant of




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in rem tax collection powers to municipalities across New York State following the Great

Depression of the 1930s.

        35.     These specific in rem powers were granted to tax districts across New York State

by the New York State Legislature for the collection of tax liens, starting on or about June 3, 1939,

under Section 165 of Title 3 of Article VII A of Chapter 692 of the 1939 Laws of New York State

(referred to herein as “Tax Law § 165”). Tax Law § 165 was further amended from time to time,

including through Chapter 602 of the 1993 Laws of New York State. It is now codified as Section

1120 of the Real Property Tax Law of New York Consolidated Laws (“New York State’s In Rem

Grant to Municipalities”).

        36.     In rem foreclosure proceedings are considered summary proceedings. New York

State’s In Rem Grant to Municipalities expressly confines the use of in rem foreclosure procedures

to actions for the purpose of collecting “Tax Liens.” “Tax Liens” consist of unpaid municipal

charges owed to “Tax Districts”5 that are classified as taxes over the period of time prescribed in

state and local law, and at the end of this period these charges, if still unpaid, are classified as liens

for collection by the Tax District.

        37.     Pursuant to New York State’s In Rem Grant to Municipalities, starting in 1948,

New York City Council enacted in rem foreclosure provisions to collect Tax Liens. Those

provisions are now codified in Section 404 of Chapter 4, Title 11 of the Code. These local New

York City laws are hereinafter collectively referred to herein as “New York City’s In Rem Laws.”




5
  “Tax Districts” are defined in the applicable law as “a county, city, town, village or school
district, having power to enforce the collection of taxes on real property by tax sale.”


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The TPT Program

         38.   New York City experienced urban property blight in certain outer borough

communities of color in the 1970s and 1980s. During this period, largely in response to new rent

stabilization laws, owners of large multiple dwelling residential buildings in the Bronx, Upper

Manhattan, and Brooklyn simply abandoned their buildings, declined to pay their tax obligations

to the City, and neglected property maintenance and health and safety issues at the buildings. By

abandoning their buildings, these owners left behind tenants without any building-wide property,

maintenance, health and safety services, and buildings that were experiencing or at risk of

experiencing physical decline. For buildings against which Tax Liens accrued, New York City

invoked the specific in rem powers granted to it by New York State’s In Rem Grant to

Municipalities, in many instances auctioning the buildings to pay of the City’s debt, and in other

cases taking ownership of multi-family of buildings in which tenants had been neglected and were

left abandoned by the prior owners.

         39.   Over time, HPD considered the buildings or properties that were taken through in

rem proceedings, and owned and managed by them over time, to be distressed. Distressed

buildings were those upon which taxes were outstanding and in which tenants were experiencing

the conditions that resulted from general neglect by their owners. HPD’s policy prior to 1996 with

respect to distressed buildings was twofold: it had one program under the New York State Housing

Finance Law, and another program where the City directly managed the properties, as set forth

below.

         40.   First, in certain instances, HPD would transfer management and ownership of the

distressed buildings to non-profit cooperative corporations, the shareholders of which are the prior

tenants who resided in the apartment units of the distressed buildings. In those instances, title to




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the distressed buildings were transferred to not-for-profit or charitable corporations organized

pursuant to Section 573 of Article XI of the New York State Housing Finance Law (referred to

herein as “HDFCs”). Generally, HDFCs are organized under New York State Law as cooperative

corporations for the overall purpose of housing improvement and homeownership, and primarily

to keep the apartment units affordable over time to the working families residing in those units.

       41.     With the HDFC model, tenants of distressed buildings are given the option to

become shareholders in the cooperative corporations. As shareholders in the HDFCs, tenants

become owners of their particular apartment units by virtue of their pro-rata share ownership in

the cooperative corporation. Each share affords an owner the right to a proprietary lease to an

appurtenant apartment, and thus the right to reside in that apartment long-term without the risk of

displacement. Each share also provides the owner with an equity interest in the particular HDFC

and/or the HDFC-owned building and its related tangible and intangible assets (such as the value

of commercial leases held by the HDFC).

       42.     Second, in other instances, where ownership and management of the buildings

taken in rem were under the control and direction of HPD, HPD advanced a policy of City

management of these distressed buildings, and at times utilized what was commonly referred to as

an “Article 7A Administrator” to manage the buildings. By the mid 1990s—according to

testimony provided to the New York City Council by the then commissioner of HPD (Deborah

Wright) on or about January 29, 1996—New York City found itself owning a substantial portfolio

of properties taken through in rem proceedings, at great expense to the City. As Commissioner

Wright described in her January 29, 1996 testimony, the costs of maintaining and operating these

buildings were “magnified by the hardships to tenants, the devastating impact on local real estate

markets and on neighborhood quality of life.”




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       43.     In April 1996, the City (through the then HPD Commissioner Lilliam

Barrios-Paoli) sought from and was granted the right by the New York City Council—but not by

the New York State Legislature—to broaden and utilize the in rem foreclosure powers purportedly

granted to it by New York State, in order to “permit the DOF Commissioner to transfer title to a

tax foreclosed [distressed] building either to the City or a third party designated by the

Commissioner of HPD.” In seeking this authority, the City also sought and was granted the

authority to broaden the classification of properties that could be taken through in rem proceedings,

and also sought to change the purpose for those takings.

       44.     The City thus proposed, and New York City Council enacted, a broadened statutory

definition of “distressed property” under its 1996 Local Law No. 37:

       “Distressed property.” Any parcel of class one or class two real property that is
       subject to a tax lien or liens with a lien or liens to value ratio, as determined by the
       commissioner of finance, equal to or greater than fifteen percent and that meets one
       of the following two criteria:

               i. such parcel has an average of five or more hazardous or immediately
               hazardous violations of record of the housing maintenance code per
               dwelling unit; or

               ii. such parcel is subject to a lien or liens for any expenses incurred by the
               department of housing preservation and development for the repair or the
               elimination of any dangerous or unlawful conditions therein, pursuant to
               section 27-2144 of this code, in an amount equal to or greater than one
               thousand dollars.

See Code § 11-401.4, et seq.

       45.     According to the testimony of then HPD Commissioners Deborah Wright and

Lilliam Barrios-Paoli before the New York City Council in January 1996 and April 1996, Local

Law 37 was intended to allow the City to seize and transfer private properties that DOF and/or

HPD designate as “distressed properties” pursuant to Code § 11-401.4.




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       46.     As a result of the expansive definition of “distressed property,” Local Law 37

became HPD’s and the City’s tool under which the City advanced the TPT Program.

       47.     The taking of properties designated as “distressed” is effectuated under Section

11-401.1(c), Section 11-404(a), and the additional provisions of Chapter 4 of Title 11 of the New

York City Administrative Code enacted under Local Law No. 37, and the rules and regulations

promulgated thereunder. Specifically, Code § 11-404(a) provides that:

       Whenever it shall appear that a tax lien or tax liens has or have been due and unpaid
       for a period of at least one year from the date on which the tax, assessment or other
       legal charge represented thereby became a lien, such tax lien or tax liens, except as
       provided in subdivision b of this section or otherwise provided by this chapter, may
       be summarily foreclosed in the manner provided in this chapter, notwithstanding
       the provisions of any general, special or local law and notwithstanding any
       omission to hold a sale of a tax lien or tax liens prior to such foreclosure. A bill of
       arrears or any other instrument evidencing such tax lien or tax liens shall be
       evidence of the fact that the tax lien or tax liens represented thereby has not or have
       not been paid to the city or sold by it.

       48.     By 2015, HPD expanded the bases on which it would invoke Local Law No. 37 to

take and nullify the title of private-property owners, or the title of HDFC-cooperative owners,

utilizing Code 11-404(a), et seq. HPD currently invokes Code § 11-404(a) to seize properties that

HPD determines are not viable properties to be auctioned to the highest bidder in a regular Tax

Lien or foreclosure sale, purportedly on the basis of HPD’s unilateral conclusion that the properties

are in generally poor condition and thus less marketable at the time of the taking or seizure.

       49.     This expanded basis for invoking in rem powers to foreclose was asserted by HPD’s

commissioner Maria Torres-Springer, in affidavits submitted in 2017 in in rem foreclosure

proceedings before New York State Supreme Courts, and in support of the City’s application to

such courts for the award of in rem foreclosure judgments against certain listed properties. This

expanded purpose for invoking in rem powers was not granted to the City or HPD under any state

or city law.



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       50.     As discussed in more detail below, in December 2018, the City asserted an even

more expansive view of its powers under the TPT Program, claiming that it was permitted to

foreclosure upon properties that are not statutorily distressed if (1) the property has a Tax Lien

that makes it subject to foreclosure, and (2) the property is located on the same tax block as another

property selected for inclusion in the TPT Program.

       51.     In recent years, the Municipal Defendants, in consultation and coordination with

the TPT Defendants and other similarly situated real estate developers, make a list of properties

they want to seize. On information and belief, Defendants target properties owned by elder persons

of color who are less likely to have a mortgage on their home (since a bank or other lender is likely

to object to the Defendants’ seizure of property that serves as collateral for a mortgage). The City

then commences in rem proceedings under Code § 11-404(a) against properties targeted for seizure

by the City and the TPT Defendants, and seeks default judgments, and judgments of foreclosure,

under the color of authority that such Defendants assert is provided by Local Law No. 37. Indeed,

the City, through HPD and DOF, made and is making at least arbitrary and capricious, if not

outright discriminatory, internal determinations to seize property utilizing the in rem powers

purportedly granted to the City by the New York State Legislature.

       52.     Upon obtaining a judgment of foreclosure and sale under the TPT Program, the

City transfers ownership of the properties to certain organizations selected by HPD to participate

in the TPT Program, and which are designated by HPD or the City as its “Third Party Transfer

Partners.” Code Section 11-412.1(c) provides that, after expiration of a statutory four-month

redemption period following foreclosure, DOF is permitted to enter a deed transferring the

property to a Third Party Transfer Partner, which receives title to the property in fee simple

absolute. If DOF fails to enter a deed transferring the property within eight months (plus a 45 day




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tolling period for City Council review) following the award of judgment in foreclosure, then the

property is not transferred.

       53.     The City receives no tax revenue when it uses the TPT Program to foreclose upon

and transfer properties. After foreclosure of a property, the City transfers title to a Third Party

Transfer Partner without requiring the Third Party Transfer Partner to make any payment towards

the Tax Lien or other amount that served as the basis for the City’s exercise of its purported powers

under Code § 11-401. Instead, the City simply transfers the property in fee simple absolute, which

extinguishes any outstanding Tax Liens, and then conveys the property to the Third Party Transfer

Partner for zero dollars.

       54.     In each in rem action, the Municipal Defendants pursue an award of fee title

ownership and absolute possession utilizing Code § 11.404(a) et seq. to effectively extinguish all

rights of the owner to the property. When the City uses a summary proceeding to secure an in rem

foreclosure judgment in rem, the original property owner also loses all of his or her (or its, in the

case of an HDFC) surplus or equity value in the property. This surplus or equity value is the

difference between a foreclosure-public-auction-bid amount on (or the market value of) the

property and the amount of the foreclosure judgment premised on a valid Tax Lien, if any.

       55.     There is no method pursuant to which the former owner of the property may claim

the “surplus” value (the amount in excess of the amount claimed as a Tax Lien by the City, as

exists with Tax Lien foreclosure sales resulting from judicial foreclosure proceedings). See Code

§§ 11-401 – 428.

       56.     Section 11-404 et seq. of the Code specifies that amounts owed to the City do not

provide a basis to use summary in rem foreclosure proceedings until the owed amounts may be

designated as Tax Liens. However, even in the instances where amounts owed to the City for taxes




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do not yet have lien status under the Code, the Municipal Defendants utilize Code § 11-404(a) to

seize or otherwise take private property.

       57.     Subsection 4 of the Definitions section of Code § 11.401 specifies the bases on

which DOF and HPD are required to designate a property as a distressed property, before the

summary in rem foreclosure proceeding of the Code can be utilized. But Municipal Defendants

have used summary in rem foreclosure proceedings to seize properties even in the instances where

properties did not meet the bases or requirements for being designated as “distressed” by DOF and

HPD under Code § 11-401.4.

       58.     Section 11-401.1 of the Code mandates that DOF and HPD follow certain

procedures before commencing a summary in rem foreclosure proceedings. See Code 11-401.1,

et seq. Municipal Defendants have used summary in rem foreclosure proceedings to seize

properties even where they have failed to demonstrate compliance with these procedures.

       59.     Moreover, Municipal Defendants regularly use summary in rem foreclosure

proceedings to seize properties where the amount of the Tax Lien asserted by the City comprises

a small fraction of the value of the property being taken.

       60.     For example, in the latest round of the TPT Program (In Rem 53), half of the

properties selected were not statutorily “distressed” and had an average tax to value ratio of 3%.

For properties taken that were not distressed, by definition, Defendants took no less than 85% of

the value of the property. Additionally, numerous properties were neither statutorily distressed

nor within the same tax block as a statutorily distressed property, calling into question why they

were selected for inclusion in the TPT Program at all.

       61.     The Municipal Defendants currently utilize Code § 11-404 et seq. for the purpose

of advancing the City’s (and its current Mayor’s) affordable housing program. The City’s




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affordable housing plan was unveiled by Mayor Bill de Blasio, in May 2014, as New York’s

“Housing New York Plan” (the “Plan”). The Plan has been spearheaded by Maria Torres-Springer

in her capacity as Commissioner of HPD. The Plan, as initially conceived, sought to “create and

preserve 200,000 high-quality, affordable homes over ten years,” spanning all five boroughs. 6

         62.    Margaret DeVoe, Esq., assistant Corporation Counsel in the office of Zachary W.

Carter, Corporation Counsel of the City of New York, averred in an affirmation—dated October

11, 2018 and submitted to the Supreme Court of the State of New York, Bronx County—that “the

purposes [sic] of the [TPT] Program is to create and maintain affordable housing.” In her

affirmation, Ms. DeVoe further described that the City, HPD, and DOF are utilizing the provisions

of Local Law No. 37 and the in rem authority granted to the City by New York State Legislature

for purposes other than tax collection, and to otherwise advance a public purpose of the current

Mayor (affordable housing).

         63.    On November 15, 2018, at a Town Hall meeting convened by New York City

Council Member Robert E. Cornegy, Jr., in his position as the Chair of the City Council’s

Committee on Housing and Buildings, and in response to public outcry resulting from the City’s

seizures of private property in primarily minority communities under the TPT Program, an HPD

representative admitted that the purpose of the TPT Program is to “keep the housing affordable for

the residents of those buildings.” This aligns with other public statements by City officials that

the TPT Program is being utilized to advance the City’s (and its current Mayor’s) affordable

housing agenda.




6
    See https://www1.nyc.gov/site/hpd/about/housing-plan.page


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       64.     In 2018, HPD asserted that the City is authorized to include in the TPT Program all

Tax Class 1 and 2 properties7 that have had municipal charges of $1,000 or more that have been

outstanding for more than one year for non-cooperative and non-condominium properties, or for

more than three years for cooperative and condominium properties, so long as those properties are

on the same tax block as a statutorily distressed property. There is no statutory authority for this

taking under state or city law. The Municipal Defendants expanded the bases on which they can

invoke in rem foreclosure powers to take properties based on tax liabilities that may be

significantly lower than the then-current market value of the subject properties.

       65.     Under the TPT Program, the City asserts that it is not limited to only seizing

properties that meet the definition of “distressed property” under Section 11-401.4 of the Code, in

order to advance the Plan set by Mayor de Blasio. However, neither the City nor HPD or DOF

sought or obtained authority from the New York Council to broaden or expand the purpose for

which it currently utilizes Local Law No. 37. Nor has the City sought authority from the New

York State Legislature to expand the New York State In Rem Grant to Municipalities to advance

the Plan.

       66.     On or about January 10, 2019, Mayor Bill de Blasio doubled down on his affordable

housing initiative, and stated that he intended to expand the TPT Program to seize upwards of forty

(40) additional dwellings annually, in order to transition them to “responsible, mission driven

ownership.” The Mayor stated: “We will seize their buildings, and we will put them in the hands

of a community nonprofit that will treat tenants with the respect they deserve.” Mayor De Blasio’s

intent has been to use the TPT Program to advance the Plan.



7
  Tax Class 1 properties include one- to three-unit residential properties. Tax Class 2 properties
include buildings with more than four units, including cooperatives and condominiums.


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       67.       In some instances, even after the City seizes property under the TPT Program, it

continues to solicit and accept payments from former owners of property, without disclosing to

those former owners that their ownership rights have been extinguished through an in rem

foreclosure judgment. The City has even entered into installment repayment plans for amounts

delineated as Tax Liens (correctly or incorrectly) after the commencement of the in rem proceeding

on the affected property, without removing such property from the in rem proceedings (even

though such removal is required by the letter and spirit of Local Law No. 37).

       68.       Since the enactment of Local Law 37, the City has completed ten “rounds”—i.e.,

mass foreclosure proceedings—under the TPT Program. The most recent round (“Round X”)

ended in 2018.

       69.       This lawsuit was filed in 2019. Since then, the City has refrained from commencing

another “round” of TPT Program seizures, although it has repeatedly threatened to do so.

Alternative to TPT Program Foreclosures

       70.       The City has at its disposal an alternative process for enforcing Tax Liens that does

not result in extinguishing the homeowners’ Surplus Equity. Specifically, the City can collect on

Tax Liens through Tax Lien sales, whereby the City sells its Tax Lien to a third party who can

collect the interest on the lien and foreclose in the event that the homeowner defaults.

       71.       Specifically, NYC Administrative Code § 11‐319(b)(4) provides that the City may

sell a Tax Lien only in the amount of the lien, and the buyer of the lien does not receive title to the

property. While the purchaser of the Tax Lien holds it, the purchaser may collect interest on the

lien in amounts prescribed in NYC Administrative Code § 11‐319, plus a 5% surcharge on the lien

amount. If the homeowner defaults on these payments, then the lienholder can foreclose on the

property pursuant to NYC Administrative Code § 11‐332 and NYC Administrative Code § 11‐335




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to enforce their lien and have a court direct a sale. But, per Code § 11-337, upon entry of judgment

of the Tax Lien foreclosure, a judgment in favor of the lienholder is in the amount of the lien plus

interest (not the full value of the property). Additionally, because judgment also directs sale of the

property, per Code § 11‐338, the Tax Lien holder collects what is owed (not the full value of the

sale), and pursuant to Code § 11‐341, the money produced from the sale in excess of what is owed

to the Tax Lien holder is paid to the court for persons “entitled thereto”—i.e., any other creditors

of the property, and then the homeowner.

       72.     In sum, the City has two methods for enforcing Tax Liens. One option—sale of a

Tax Lien—provides the homeowner with all Surplus Equity in the property, even in the event that

the lien sale ultimately leads to a foreclosure sale. The other option—transfer under the TPT

Program—does not provide the homeowner with any Surplus Equity. Indeed, the TPT Program

has no mechanism whatsoever for a homeowner to obtain the Surplus Equity of the property above

the value of the Tax Liens. Nor does the TPT Program provide any mechanism in which a court

can direct a sale of the property to liquidate the property value such that the Tax Lien could be

collected and that the Surplus Equity could be collected from whatever funds remain. The (former)

homeowner gets nothing.

Named Plaintiffs and the Subject Properties

       73.     Plaintiffs are former property owners residing in minority-majority communities

whose properties were targeted for seizure by Defendants through the TPT Program. Despite the

fact that any amounts allegedly owed to the City constituted a fraction of the value of their

properties, none of Plaintiffs received any compensation from Defendants for the Surplus Equity

they owned in their properties.

       Plaintiff McConnell Dorce




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       74.     Since 1977, Plaintiff McConnell Dorce owned property located at 373 Rockaway

Parkway, Brooklyn, New York (Kings County Block #4672, Lot #56). Plaintiff Dorce is an elderly

retired machinist and former ambulance driver, a Caribbean American immigrant from Haiti, and

his property is located in a community predominantly populated by African Americans, Caribbean

Americans, Hispanic Americans, and Middle Eastern Americans.

       75.     Since 2012, Plaintiff Dorce owned the 373 Rockaway Parkway Property free and

clear of any mortgage and had substantial equity in the property.

       76.     Up until at least 2012, all real property taxes and related charges to the 373

Rockaway Parkway Property were paid to the City.

       77.     Sometime after 2012, Plaintiff Dorce incurred water and sewage charges in

connection with the 373 Rockaway Parkway Property. Plaintiff Dorce entered into a written

installment agreement with the City to pay the outstanding water and sewage charges, and made

all installment payments to the City on time.

       78.     Notwithstanding Mr. Dorce staying current on his installment payments, the 373

Rockaway Parkway Property was subsequently taken by the Defendants through the TPT Program

when Municipal Defendants seized it and transferred it to Neighborhood Restore.

       79.     Specifically, on July 14, 2015, the City commenced the mass action In Rem 53

against a list of more than 180 properties, including the 373 Rockaway Parkway Property, pursuant

to the TPT Program.

       80.     On November 27, 2017, New York state court Justice Partnow signed the In Rem

53 judgment, which was drafted by the City, against 65 properties including the 373 Rockaway

Parkway Property.




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       81.     The In Rem 53 foreclosure judgment granted the DOF the ability to execute a deed

transferring title to either the City or third parties within eight months (plus a 45 day tolling for

City Council review) following the judgment. See Code § 11-412.1(c).

       82.     The judgment was entered in rem—i.e., against the properties—and the owners of

those properties, including Mr. Dorce, were not parties to the proceedings or judgment.

       83.     On February 7, 2018, the City recorded the In Rem 53 judgment in the chain of title

of the 373 Rockaway Parkway Property.

       84.     On September 21, 2018, the City through the DOF recorded a deed in the chain of

title of the 373 Rockaway Parkway Property, taking Mr. Dorce’s property and transferring it to

Defendant Neighborhood Restore. Neighborhood Restore paid nothing for the property; the City

received nothing in exchange for extinguishing whatever Tax Lien had existed on the property;

and Mr. Dorce received nothing in return for losing his property.

       85.     At no time leading up to the taking of his property did Mr. Dorce receive actual or

constructive notice of the July 2015 in rem proceeding or foreclosure judgment, notice reasonably

calculated to inform him of the proceeding or judgment, or other notice as required under

applicable law. The City knew that it had not provided proper notice to Mr. Dorce of the in rem

proceeding.

       86.     The City has alleged that it provided a foreclosure notice to Mr. Dorce. However,

the notice that the City claims it provided was not addressed to where Mr. Dorce actually lives

(which Municipal Defendants knew or should have known). Moreover, the claimed notice was

addressed to a multi-unit building without any unit number.




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       87.      This lack of notice deprived Mr. Dorce of an opportunity to redeem the 373

Rockaway Parkway Property as the owner of the “equity of redemption” and caused him to lose

his Surplus Equity in the property.

       88.      On or about September 24, 2018, Plaintiff Dorce learned that his property had been

transferred to Neighborhood Restore. In other words, Mr. Dorce received no notice of the in rem

proceeding in the more-than three years since that proceeding was initiated and only received

notice of the transfer three days after it occurred (and was irreversible).

       89.      The 373 Rockaway Parkway Property was not statutorily “distressed” because it

was not subject to Tax Liens (which are a subset of tax charges) in excess of 15% of the property’s

actual value.

       90.      The valuation for the property contained in the DOF’s NOPV in 2018 ($226,000)

substantially understated the actual value of the 373 Rockaway Parkway Property.

       91.      In any event, even under the Municipal Defendants’ construction of the facts, Mr.

Dorce’s Surplus Equity was over $180,000.

       92.      In reality, Mr. Dorce’s Surplus Equity was worth substantially more than that.

       93.      Municipal Defendants conspired with the TPT Defendants to transfer Mr. Dorce’s

Surplus Equity to Neighborhood Restore. Neighborhood Restore paid nothing for Mr. Dorce’s

Surplus Equity and Mr. Dorce received no consideration for Neighborhood Restore’s taking of his

Surplus Equity.

       94.      Even after the transfer, the City continued to issue to Mr. Dorce invoices in

connection with charges to the 373 Rockaway Parkway Property, and Mr. Dorce continued to

make payments to the City. The City accepted these payments even though it had knowledge that

the title to his property had been taken from Mr. Dorce. By issuing these invoices and accepting




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payments from him, the City deceived Mr. Dorce into believing that tendering these payments

would allow him to get the title to his property back.

        95.     Neighborhood Restore has not responsibly managed the 373 Rockaway Parkway

Property since the transfer. On April 5, 2021, a representative from Neighborhood Restore sent

Mr. Dorce a letter stating that, to date, it had not been able to gain access to the 373 Rockaway

Parkway Property and asking for Mr. Dorce’s assistance. In other words, despite owning the 373

Rockaway Parkway Property for more than two years, Neighborhood Restore contended that it

could not access the building, suggesting that Neighborhood Restore has not performed any

maintenance or otherwise meaningfully managed the building.

        96.     Even though Neighborhood Restore has been an absentee landlord, it has

nevertheless collected rent from the tenants who love at the 373 Rockaway Parkway Property.

        97.     Because Mr. Dorce did not want to see the tenants of the 373 Rockaway Parkway

Property suffer as a result of Neighborhood Restore’s neglect, he has remained involved with

routine upkeep, and has even paid out of his own pocket to renovate two bathrooms in the building

since the transfer.

        98.     In other words, Neighborhood Restore, in coordination with the Municipal

Defendants, has worked to saddle Mr. Dorce with all of the burdens of property ownership

(maintenance, taxes, water bills, etc.) with none of the benefits (rent, asset appreciation, etc.).

        99.     This is plainly inequitable.

        Plaintiff Cecelia Jones

        100.    Plaintiff Cecelia Jones was a shareholder in 585 Nostrand Avenue HDFC, an HDFC

formed to own the 585 Nostrand Avenue Property. Ms. Jones is an elderly Caribbean American,

and her property is located in a community predominantly populated by African Americans,




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Caribbean Americans, Hispanic Americans, and Middle Eastern Americans. Ms. Jones is an

elderly, retired home health aide who worked in New York City for 26 years. Ms. Jones lived in

apartment 2A at the 585 Nostrand Avenue Property pursuant to a proprietary lease appurtenant to

her shares in 585 Nostrand Avenue HDFC.

       101.    585 Nostrand Avenue HDFC had substantial equity in the subject property and,

thus, the HDFC shares owned by Ms. Jones, and the appurtenant lease, had substantial value.

       102.    At all relevant times, 585 Nostrand Avenue HDFC shareholders and residents at

the 585 Nostrand Avenue Property paid maintenance fees to the HDFC, which were used to pay

real estate taxes and water/sewage charges assessed by the City.

       103.    The 585 Nostrand Avenue Property was first included in the In Rem 51 mass action,

commenced on February 23, 2007. The foreclosure judgment in that action was entered on

October 26, 2011, against 33 properties, including the 585 Nostrand Avenue Property. However,

the City did not enter a deed to transfer the title within eight months following that judgment, so

the title and ownership over the property remained with 585 Nostrand Avenue HDFC.

       104.    Plaintiff Jones’ shareholder title and value was subsequently taken under the TPT

Program when the Municipal Defendants effected a seizure and transfer of the 585 Nostrand

Avenue Property to Neighborhood Restore.

       105.    Specifically, on July 14, 2015 the City commenced the In Rem 53 mass action,

which once again included the 585 Nostrand Avenue Property.

       106.    On November 27, 2017 New York state court Justice Partnow signed a proposed

judgment drafted by the City against 65 properties including the 585 Nostrand Avenue Property.




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       107.    The In Rem 53 foreclosure judgment granted the DOF the ability to execute a deed

transferring title to either the City or third parties within eight months (plus a 45 day tolling for

City Council review) following the judgment. See Admin. Code § 11-412.1(c).

       108.    The judgment was entered in rem, and the owners of those properties, including

585 Nostrand Avenue HDFC, were not party to the proceedings or judgment. Ms. Jones was also

not a party.

       109.    On February 7, 2018, the City recorded the judgment in the chain of title of the 585

Nostrand Avenue Property.

       110.    On September 21, 2018, the City through the DOF recorded a deed in the chain of

title of the 585 Nostrand Avenue Property, taking Ms. Jones’s home and transferring it to

Defendant Neighborhood Restore. Neighborhood Restore paid nothing for the property; the City

received nothing in exchange for extinguishing whatever Tax Lien had existed on the property;

and neither Ms. Jones nor 585 Nostrand Avenue HDFC received anything in return for losing their

property.

       111.    At no time leading up to the taking of the property did Ms. Jones or 585 Nostrand

Avenue HDFC receive actual or constructive notice of 2015 in rem proceeding or foreclosure

judgment, notice reasonably calculated to inform them of the proceeding or judgment, or other

notice as required under applicable law. The City knew that it had not provided proper notice of

the in rem proceeding to Ms. Jones or to 585 Nostrand Avenue HDFC.

       112.    The City has alleged that it provided a foreclosure notice to 585 Nostrand Avenue

HDFC. However, the notice that the City claims it provided (i) was not addressed to any particular

person, (ii) was not addressed to any particular unit, and (iii) was addressed to a partial version of

the HDFC’s name.




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         113.   This lack of notice deprived Ms. Jones and 585 Nostrand Avenue HDFC of any

opportunity to redeem the 585 Nostrand Avenue Property.

         114.   Sometime in or around October 2018 (i.e., after the property had been irreversibly

transferred), Ms. Jones learned that ownership of the 585 Nostrand Avenue Property had been

transferred from the HDFC to Neighborhood Restore.

         115.   Ms. Jones learned her property had been transferred when Neighborhood Restore’s

managing agent informed her that she was being converted into a renter, and her maintenance

payments converted into rental payments.

         116.   As a result of this transfer under the TPT Program, 585 Nostrand Avenue HDFC’s

ownership rights to the 585 Nostrand Avenue Property were extinguished, as was all of the value

of Ms. Jones’ shares and the proprietary lease appurtenant thereto.

         117.   Because the 585 Nostrand Avenue Property was the only asset of 585 Nostrand

Avenue HDFC, the City was required under New York State’s Not-for-Profit Corporation Law to

provide notice and obtain approval from New York’s Attorney General before taking the property.

N-PCL §§ 510, 511, 511-a.

         118.   In violation of state law, the City took the 585 Nostrand Avenue Property without

providing notice to—or obtaining approval from—the Attorney General.

         119.   The 585 Nostrand Avenue Property was not statutorily “distressed” because it was

not subject to Tax Liens (which are a subset of tax charges) in excess of 15% of the actual property

value.

         120.   The valuation for the property contained in the DOF’s NOPV in 2018 ($736,000)

substantially understated the actual value of the 585 Nostrand Avenue Property.




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       121.    In any event, even under the Municipal Defendants’ construction of the facts, 585

Nostrand Avenue HDFC’s Surplus Equity was over $575,000.

       122.    In reality, 585 Nostrand Avenue HDFC’s Surplus Equity was worth substantially

more than that.

       123.    As a shareholder in 585 Nostrand Avenue HDFC, Ms. Jones’s pro rata share of

that Surplus Equity was significant.

       124.    Municipal Defendants conspired with the TPT Defendants to transfer Ms. Jones’s

Surplus Equity to Neighborhood Restore. Neighborhood Restore paid nothing for Ms. Jones’s

Surplus Equity and Ms. Jones received no consideration for Neighborhood Restore’s taking of her

Surplus Equity.

       125.    As a result of the taking, the HDFC and Ms. Jones’ rights to, and value and equity

in, the subject property, the related HDFC shares, and the proprietary leases appurtenant thereto

were extinguished in their entirety. Through this process, Ms. Jones’ lost her right to reside in her

apartment unit at the 585 Nostrand Avenue Property as a shareholder in the 585 Nostrand Avenue

HDFC, and Ms. Jones was converted to a renter in her own home.

       Plaintiff Sherlivia Thomas-Murchison

       126.    Plaintiff Thomas-Murchison was a shareholder in 248 Madison Street HDFC, an

HDFC that was formed to own the 284 Madison Street Property (Kings County Block #1823, Lot

#29). Ms. Thomas-Murchison is an African American woman, a paralegal and mother, and her

property is located in a community predominantly populated by African Americans, Caribbean

Americans, Hispanic Americans, and Middle Eastern Americans. Ms. Thomas-Murchison’s

extended family lived in apartment unit 4L at the 248 Madison Street Property pursuant to a

proprietary lease appurtenant to her shares in 248 Madison Street HDFC.




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       127.    At all relevant times, Ms. Thomas-Murchison’s mother (now deceased) also owned

shares in the 248 Madison Street HDFC. Ms. Thomas-Murchison lived in apartment unit 4R

pursuant to a proprietary lease appurtenant to the shares in the HDFC owned by her mother, along

with her mother before her mother’s death. Ms. Thomas-Murchison and her family inherited an

equitable estate interest in unit 4R of the 248 Madison Street Property from her mother.

       128.    248 Madison Street HDFC had substantial equity in the 248 Madison Street

Property and, thus, 248 Madison Street HDFC shares owned by Ms. Thomas-Murchison, and the

appurtenant lease, had substantial value.

       129.    At all relevant times, 248 Madison Street HDFC shareholders and residents at the

subject property paid maintenance fees to the HDFC, which were used to pay real estate taxes and

water/sewage charges assessed by the City.

       130.    Plaintiff Thomas-Murchison’s shareholder title and value was taken when the

Municipal Defendants transferred the 248 Madison Street Property to Neighborhood Restore under

the TPT Program.

       131.    Specifically, the City commenced the action In Rem 51 mass action against scores

of properties, including the 248 Madison Street Property. On October 26, 2011, New York state

court Justice Martin signed the proposed judgment, which the City drafted, as to 33 properties

including the 248 Madison Street Property.

       132.    The In Rem 51 foreclosure judgment granted the DOF the ability to execute a deed

transferring title to either the City or third parties within eight months (plus a 45 day tolling for

City Council review) following the judgment. See Admin. Code § 11-412.1(c).

       133.    The judgment was entered in rem, and the owners of those properties, including

248 Madison Street HDFC, were not party to the proceedings or judgment.




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       134.    On December 19, 2011, the City recorded the judgment in the chain of title of the

248 Madison Street Property.

       135.    On August 24, 2012, the City, acting through the DOF entered a deed in the chain

of title of the 248 Madison Street Property transferring the property to Defendant Neighborhood

Restore. This post-judgment deed divested 248 Madison Street HDFC of its sole asset for which

it received no compensation and reduced the value of Plaintiff Thomas-Murchison’s cooperative

shares to zero. Plaintiff Thomas-Murchison was, as a result, dispossessed from her residency and

value of her Surplus Equity in the 248 Madison Street Property, and was, along with her family,

dispossessed of inheritance rights to the Surplus Equity in the shares of the cooperative which had

been owned by her deceased parents.

       136.    On December 10, 2012, the City through the DOF filed a “correction deed” fixing

an error whereby the deed was mistakenly dated July 8, 2012, instead of August 24, 2012.

       137.    As a result of the TPT Program, 248 Madison Street HDFC’s ownership rights to

the 248 Madison Street Property were extinguished, as was all of the value of Ms.

Thomas-Murchison’s shares and the proprietary leases appurtenant thereto.

       138.    On February 29, 2016, Neighborhood Restore deeded the 248 Madison Street

Property to Defendant Bridge Street, in a transaction that the City approved.

       139.    Defendant Bridge Street has since borrowed more than $11 million pursuant to two

separate mortgages that are secured, at least in part, by the 248 Madison Street Property.

       140.    In other words, Bridge Street “cashed out” the Surplus Equity it took from Plaintiffs

and members of the putative class.




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       141.       Sometime in or about April 2016, Ms. Thomas-Murchison learned that ownership

of the subject property had been transferred from the HDFC through an in rem proceeding filed by

the City pursuant to the TPT Program, and that the property now belonged to Bridge Street.

       142.       In or about May 2016, Bridge Street’s managing agent informed Ms.

Thomas-Murchison that she was being converted into a renter, and her maintenance payments

converted into rental payments.

       143.       At no time leading up to the taking of her property did Ms. Thomas-Murchison or

248 Madison Street HDFC receive actual or constructive notice of in rem proceedings or

foreclosure judgment, notice reasonably calculated to inform them of the proceeding or judgment,

or such other notice required under applicable law. The City knew that it had not provided proper

notice to Ms. Thomas-Murchison or 248 Madison Street HDFC.

       144.       The City has alleged that it provided a foreclosure notice to 248 Madison Street

HDFC. However, the notice that the City claims it provided was not addressed to any particular

person or unit.

       145.       This lack of notice deprived Ms. Thomas-Murchison and 248 Madison Street

HDFC of any opportunity to redeem the 248 Madison Street Property.

       146.       As a result of the transfer of this property, 248 Madison Street HDFC’s ownership

rights to the property were extinguished, as was all of the value of Ms. Thomas-Murchison’s shares

and the proprietary lease appurtenant thereto.

       147.       Because the 248 Madison Street Property was the only asset of 248 Madison Street

HDFC, the City was required under New York State’s Not-for-Profit Corporation Law to provide

notice and obtain approval from New York’s Attorney General before taking the property. N-PCL

§§ 510, 511, 511-a.




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         148.   In violation of state law, the City took the 248 Madison Street Property without

providing notice to—or obtaining approval from—the Attorney General.

         149.   The 248 Madison Street Property was not statutorily “distressed” because it was

not subject to Tax Liens (which are a subset of tax charges) in excess of 15% of the actual property

value.

         150.   The valuation for the property contained in the DOF’s NOPV in 2012 ($398,000)

substantially understated the actual value of the 248 Madison Street Property.

         151.   Indeed, the valuation for the property contained in the DOF’s NOPV for 2010 was

$1,350,000 and for 2011 was $796,000. The most recent NOPV for the property sets the value at

$1,723,000.

         152.   In any event, even under the Municipal Defendants’ construction of the facts, 248

Madison Street HDFC’s Surplus Equity was over $285,000.

         153.   In reality, 248 Madison Street HDFC’s Surplus Equity was worth substantially

more than that.

         154.   As a shareholder in 248 Madison Street HDFC and the successor to another

shareholder (her mother), Ms. Thomas-Murchison’s pro rata share of that Surplus Equity was

significant.

         155.   Municipal Defendants conspired with the TPT Defendants to transfer Ms. Thomas-

Murchison’s Surplus Equity to Neighborhood Restore and Bridge Street. Neither Neighborhood

Restore nor Bridge Street paid anything for Ms. Thomas-Murchison’s Surplus Equity and Ms.

Thomas-Murchison received no consideration for their taking of her Surplus Equity.

         156.   Ms. Thomas-Murchison previously had the right to reside in her apartment unit in

that HDFC as a cooperative shareholder, which shareholder title was extinguished or otherwise




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taken by the Municipal Defendants and transferred to Neighborhood Restore under the TPT

Program (and subsequently transferred to Bridge Street). Plaintiff Thomas-Murchison was, as a

result, dispossessed from her residency at the cooperative apartment, and was, along with her

family, dispossessed of inheritance rights to the shares of the cooperative which had been owned

by her deceased parents prior to it being conveyed to Neighborhood Restore through the TPT

Program.

       157.    As a result of the taking of the 248 Madison Street Property by the City, the 248

Madison Street HDFC and Ms. Thomas-Murchison’s rights to, and value and equity in, the 248

Madison Street Property, the related cooperative shares, and the proprietary leases appurtenant

thereto were extinguished in the entirety, rendering Ms. Thomas-Murchison homeless and without

access to her Surplus Equity to secure alternate hosing.

Defendants’ Widespread Abuse of the TPT Program

       158.    Defendants have seized numerous properties pursuant to in rem foreclosure

proceedings brought under the TPT Program.

       159.    By way of example, in 2017 alone, the Municipal Defendants through the TPT

Program obtained an in rem foreclosure judgment, In Rem 53, upon sixty-five (65) properties in

Kings County worth millions of dollars in the aggregate.

       160.    All properties seized pursuant to In Rem 53 were gifted to Neighborhood Restore.

At least some of those properties were subsequently transferred to other Third Party Transfer

Partners, including Bridge Street.

       161.    Municipal Defendants are aware that, in many instances, the buildings subjected to

in rem proceedings under the TPT Program are long-standing, family-owned, and/or affordable




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housing HDFC cooperative properties, with affordable housing tenants residing therein on the date

of entry of the in rem judgement dispossessing the owner of the property.

        162.   After seizing properties, the TPT Defendants often charge residents more than they

were paying before. Moreover, because these payments are now “rent” instead of “maintenance,”

the residents no longer accrue any equity and, with respect to HDFCs, the building is transformed

from a cooperative with owner-residents to a rental building with mere tenants.

        163.   The widespread misuse of the TPT Program and its effects on communities of color

have come into focus over the past several years.

        164.   In March 2019, New York state court Justice Partnow—who had previously

granted Municipal Defendants’ request for a default judgment in In Rem 53, including the

properties of Plaintiffs Dorce and Jones—subsequently reversed his decision as to six of those

properties. The Court received evidence that the City had misrepresented the facts underlying the

foreclosure proceedings, describing the City’s conduct in a detailed opinion as “unconscionable

and shocking to the conscience of the court.” In Rem Tax Foreclosure Action No. 53 Borough of

Brooklyn, Index No. 8700/2015, 2019 WL 1431423, at *23 (Sup. Ct. Kings Cty. Mar. 28, 2019).

        165.   Later that year, in July 2019, the City Council’s Committee on Oversight and

Investigations and Committee on Housing and Buildings (the “Joint Committee”) issued a joint

report confirming the widespread abuse of the TPT Program. See Comms. on Oversight and

Investigations and Housing and Buildings of the New York City Council, Oversight—Taking

Stock: A Look into the Third Party Transfer Program in Modern Day New York (July 22, 2019)

(the   “City   Council   Report”),   attached   hereto   as   Exhibit   A,   and   available   at

https://on.nyc.gov/30hWJm7. The findings and conclusions drawn by Justice Partnow and the

Joint Committee mirror Plaintiffs’ own experiences and those of numerous other former




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homeowners who lost their homes based upon relatively small purported tax debts, and who were

denied any opportunity to prevent the taking of their homes or otherwise recoup the Surplus Equity

of their properties.

        166.    Justice Partnow’s decision and the City Council Report confirm what Plaintiffs and

numerous other property owners across New York City have experienced—that Defendants,

through the TPT Program, have targeted homes in communities of color; failed to provide notice

to owners of foreclosure proceedings involving their property; refused to allow owners to pay

amounts due to the City (or allowed owners to make payments but foreclosed upon the properties

anyway); and stripped owners of their property rights and any Surplus Equity in the properties

without providing any compensation.

        Defendants Work in Concert to Intentionally Target Properties with Significant Surplus
        Equity, which Results in Property Owners with the Least Tax Debt Suffering the Most
        Severe Penalties

        167.    Under the TPT Program, Municipal Defendants do not extinguish property owners’

rights unless and until one of the City’s Third Party Transfer Partners agrees to take title to the

property. If the Municipal Defendants are unable to enter a deed transferring the property within

eight months (plus a 45 day tolling for City Council review) following the award of judgment in

foreclosure, then the property is not transferred and title remains with the original owner.

        168.    Although the Municipal Defendants have the statutory authority to deed the

property to City, in practice they only deed properties if the properties can be transferred to the

City’s Third Party Transfer Partners. Indeed, Municipal Defendants have argued that one of the

purported reasons for creating the TPT Program was that the City had amassed too many properties

via foreclosures and was unable to manage them. For example, in appealing Justice Partnow’s

decision vacating the foreclosure of numerous properties in In Rem 53, the City explained that by




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1996, the City had become the largest landlord in the city, holding properties at significant expense,

so “the City amended its in rem law in 1996 and 1997 to enable streamlined transfer of certain

foreclosed residential properties to qualified third parties”—i.e., the TPT Program.

       169.    Because the Municipal Defendants rely on the TPT Defendants to facilitate the TPT

Program, they are incentivized to target the types of properties that TPT Defendants are likely to

find desirable. Thus, the Municipal Defendants work hand-in-hand with the TPT Defendants to

effectuate the TPT Program seizures.

       170.    TPT Defendants, for their part, want to select valuable properties for the obvious

reason that they will become the owners of these properties.

       171.    Municipal Defendants, on the other hand, want to target homes with relatively small

Tax Liens because those liens will be extinguished with no payment to the City.

       172.    The result is that Defendants target homes with high values and little tax debt,

resulting in the uncompensated taking of massive Surplus Equity.

       173.    For example, in the latest round of the TPT Program (In Rem 53), half of the

properties selected for seizure were not statutorily “distressed” and had an average tax to value

ratio of 3%.” See City Council Report at 9.

       174.    In other words, on average, for every dollar in taxes owed, owners of non-distressed

properties would effectively be penalized roughly 33 dollars in Surplus Equity upon the transfer

of their properties to the TPT Defendants.

       175.    According to the City Council Report, the total market value of the 210 non-

statutorily distressed properties selected for the TPT Program in the latest round was nearly $152

million, whereas the total amount of arrears owed on such properties was just over $4.5 million.




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       176.    In an effort to implement their scheme to seize high value properties with low tax

debt, the DOF, in concert with the other Defendants, also assigns the properties temporary “market

values” that are substantially below the properties’ actual market values.

       177.    This intentional and systematic manipulation of designated property values allows

Defendants to foreclose on additional properties, either because Defendants falsely designate a

property as “distressed” based on a manipulated property value or they designate the property as

“near” (i.e., on the same tax block) a property falsely designated as “distressed” based on

manipulated data.

       178.    Following a six-month investigation that led to the City Council Report, council

member Robert Cornegy concluded that DOF had intentionally assessed properties well below

their real market values as part of a “public policy program that strips away intergenerational black

and brown wealth.”

       179.    As one example, the DOF’s manipulated valuations of the 248 Madison Street

Property are illustrative. DOF’s valuation for the property in 2010 was $1,350,000. Based on the

alleged tax debt of $110,352.44, the tax to value ratio would have been 8%, which is under the

15% threshold for a property to be statutorily “distressed.”

       180.    The DOF’s valuation in 2011 cut the property valuation nearly in half, down to

$796,000. Based on the same alleged tax debt, the tax to value ratio would be 14%--i.e. still below

the 15% threshold.

       181.    The next year, when Municipal Defendants seized the 248 Madison Street Property,

DOF again cut the assessed market value in half, down to $398,000, making the claimed tax to

value ratio jump to 28%.




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       182.    Not surprisingly, after Defendants seized the 248 Madison Street Property and

decided that they wanted it to secure two multi-million dollar mortgages, the DOF’s valuations for

the property began to rise. Today, the DOF assigns the property a value of $1,723,000 (which still

significantly understates its true market value).

       183.    The 248 Madison Street Property is not an outlier. For example, Defendants also

manipulated valuations of the 373 Rockaway Parkway Property owned by Mr. Dorce.

       184.    DOF’s valuation for the 373 Rockaway Parkway Property in 2010 was $555,000.

Based on the alleged tax debt of $45,132.73, the tax to value ratio would have been 8%, which is

under the 15% threshold.

       185.    The DOF’s valuation in 2011 cut the property valuation nearly in half, down to

$375,000. Based on the same alleged tax debt, the tax to value ratio would be 12%--i.e. still below

the 15% threshold.

       186.    By 2015, when Municipal Defendants included the 373 Rockaway Parkway

Property in the In Rem 53 proceeding, the DOF still listed its value at only $134,000 (with a

claimed tax to value ratio approximately 34%), and by 2018 when Defendants seized the 373

Rockaway Parkway Property, the DOF listed its value at only $226,000 (with a claimed tax to

value ratio of approximately 20%).

       187.    Not surprisingly, after Defendants seized the 373 Rockaway Parkway Property, the

DOF’s valuations for the property began to rise. Today, the DOF assigns the property a value of

$334,800 (which still significantly understates its true market value).

       188.    While Defendants admit that they also target non-distressed properties through the

TPT Program, they claim that they only do so where those properties are located on the same tax

block as a distressed property.




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        189.     Defendants’ assertion is demonstrably untrue.

        190.     In Round X alone, the City Council reported that Defendants included 33 non-

statutorily distressed properties that were not located on the same tax block as another property

selected for the Program. See City Council Report at 6.

        191.     The City Council noted that “this raises questions as to why they were designated

for inclusion.” Id.

        192.     Defendants have never explained why these 33 properties were included.

        193.     The harms caused by Defendants targeting the homes with the highest Surplus

Equity is magnified by the fact that there is no mechanism for a property owner to seek

compensation for the taking of any of his or her Surplus Equity.

        194.     Even if a property owner is alerted to Defendants’ plan to seize his or her property

(and, as discussed below, they often are not), there is no mechanism for them to request a judicial

sale or other public auction of their property.

        195.     The only options available to a property owner to potentially prevent the seizure of

his or her Surplus Equity is to either (i) pay off the claimed taxes in their entirety, or (ii) on their

own, engage in a hurried sale of the property.

        196.     In reality, both “options” are often illusory. As a threshold matter, both options

require the property owner to receive notice of the pending seizure, which many property owners

never receive.

        197.     Moreover, many property owners do not have sufficient liquid assets to pay of the

entirety of the claimed tax debt in one fell swoop.

        198.     Likewise, many property owners are not sufficiently sophisticated to be able to

properly market their properties for sale and, even if they were, often do not have the resources to




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do so on the expedited and limited timeframe potentially available to them. Other property owners

simply do not want to sell their homes.

       199.    Municipal Defendants will sometimes agree to enter into an installment plan for the

property owner to pay off the claimed tax debts over time but, egregiously, this does not reliably

result in Defendants abstaining from seizing their property.

       200.    Indeed, that is exactly what happened to Mr. Dorce. He agreed to an installment

plan to pay the claimed back taxes, he timely paid the installment payments, and Defendants took

his property, and his Surplus Equity, anyway.

       201.    Shockingly, Defendants continued to collect on Mr. Dorce’s installment plan for

over two years even after they had already seized his property.

       202.    Defendants claim that their conduct was appropriate because they later allegedly

returned some of the tax payments that Mr. Dorce paid. They have not, however, offered to return

the property or the Surplus Equity that they seized from him through affirmative deceit.

       203.    Mr. Dorce’s experience is outrageous, but hardly unique.

       204.    For example, the Municipal Defendants have admitted that they accepted

approximately $72,000 in payments from 19 Kingsland Avenue Housing Development Fund

Corporation (“Kingsland HDFC”), which owned property at 19 Kingsland Avenue in Brooklyn

for over three decades, after a foreclosure judgment was issued against the HDFC’s property in In

Rem 53. The $72,000 in payments made by Kingsland HDFC included $21,000 that was paid,

over the course of five months, after the HDFC could no longer legally redeem the property.

Moreover, the property did not meet the statutory definition of a distressed property—the building

did not have the requisite number of code violations, and Kingsland HDFC’s own shareholders

upgraded and replaced all of the building-wide systems at that property.




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        205.    In another case, the owner of a Brooklyn property valued at over $3 million made

down payments of approximately $25,000 and $11,000, and nearly two dozen installment

payments, under two installment agreements with the City. Despite making timely installment

payments, the City nevertheless foreclosed upon the multi-million dollar property and transferred

it—for free—to Neighborhood Restore in In Rem 53. The total outstanding amount due under the

installment agreement at the time of foreclosure was approximately $145,000, a fraction of the

total value of the building.

        206.    Defendants’ conduct deceptively led Plaintiffs and those similarly situated to fail

to defend their property rights.

        207.    In addition, Defendants have also obstructed numerous property owners from

paying the alleged Tax Liens so that Defendants can instead take their much-more-valuable

properties for free.

        208.    For example, Marcia Lewis owned property located at 972 Rutland Road in

Brooklyn for over three decades, but she was unable to pay certain taxes because the City

incorrectly listed the former owner of her property on the assessment roll, despite numerous

attempts on Ms. Lewis’s part to resolve the issue. Despite her repeated attempts to pay delinquent

taxes, and despite her property having substantial Surplus Equity, Ms. Lewis’s property was

foreclosed upon and transferred to Neighborhood Restore in In Rem 53, and Ms. Lewis received

no compensation in return.

        209.    In another similar case, 463 Classon Avenue Housing Development Fund

Corporation (“Classon HDFC”), which had owned property in Brooklyn for nearly three decades,

was unable to stop Defendants from foreclosing upon its property despite repeated efforts to pay

all amounts owed. Classon HDFC provided the City with certified checks in excess of its unpaid




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taxes, but the City refused to accept payment because the HDFC did not provide sufficient proof

of its source of funds to show that it was able to pay the tax arrears. In other words, rather than

simply accepting and depositing the owner’s certified checks, the City refused to allow this

HDFC’s redemption payment for lack of additional proof (beyond the certified checks) of its

ability to pay, and the City instead attempted to transfer the HDFC’s valuable property to

Neighborhood Restore.

       210.    These examples reflect a concerted and intentional scheme by Defendants to exploit

working class property owners in New York City by taking their substantial Surplus Equity

without just compensation.

       211.    At a minimum, these seizures constitute an excessive fine levied against New York

City property owners who are alleged to be behind on their taxes.

       Defendants, Acting in Concert, Intentionally Target Homes that Belong to Elderly and
       Minority Homeowners Located in Communities of Color

       212.    Defendants, working in concert, intentionally target properties that belong to

elderly minority homeowners who live in communities of color for multiple reasons.

       213.    First, Defendants generally want to seize properties that are unencumbered by any

mortgage. Mortgage lenders—often banks—are generally more sophisticated and are harder for

Defendants to victimize than working class property owners. If Defendants include a property

with a mortgage in their planned seizures and the mortgage lender reaches out to object,

Defendants will quietly drop that property from their proposed default judgement to try to ensure

that the remaining properties can be seized with as little interference as possible. Properties

unencumbered by mortgages also, of course, tend to more valuable.

       214.    Defendants know and intend that their efforts to target properties unencumbered by

mortgages will disproportionately target the elderly, who are more likely to have finished paying



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off their mortgages. Perversely, the elderly will also suffer the most severe consequences from

Defendants taking of their Surplus Equity, as they are often retired, on fixed income, and are unable

to rebuild the wealth that Defendants seized from them.

       215.    In addition, when there is an existing mortgage on a property, the homeowner often

makes all payments to the mortgage service provider, which in turn makes the tax payments on

behalf of the homeowner. However, after a mortgage is paid off, a homeowner must pay property

taxes directly through the City’s byzantine property tax system. This also results in the TPT

Program disproportionately targeting property owners with no mortgage, who are overwhelmingly

elderly.

       216.    Second, Defendants intentionally target communities of color because that is where

the City’s current Mayor wants to claim credit for providing affordable housing.

       217.    Third, communities of color are also ripe for exploitation by Defendants as their

residents often lack the resources and abilities to fight Defendants’ abusive tactics. For example,

many residents in communities of color are immigrants or children of immigrants may not speak

English as their primary language. They are less likely to have the resources to mount legal

challenges, even if the face of plainly unconstitutional conduct.

       218.    The TPT Program’s targeting of racial minorities is virtually indisputable.

       219.    Justice Partnow, the judge who initially approved In Rem 53, later acknowledged

that “[t]he City has particularly targeted properties that are owned by minorities,” and that the

City’s conduct “raises equal protection concerns.” In Rem Tax Foreclosure Action No. 53 Borough

of Brooklyn, Index No. 8700/2015, 2019 WL 1431423, at *6 (Sup. Ct. Kings Cty. Mar. 28, 2019).

       220.     Similarly, following the six-month investigation that led to the City Council

Report, one City council member reported: “[i]t is clear to us that HPD is targeting properties for




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Third Party Transfer disproportionately. It’s targeting Brooklyn and the Bronx, it’s targeting black

and brown neighborhoods.”8

       221.    Public press reporting after the City Council Report also confirm that the TPT

Program resulted in the taking of properties “mostly from black, elderly homeowners.” 9

       222.    The statistics further confirm the targeting of black and brown communities. For

example, of the properties selected for the latest round of the TPT Program, approximately 50%—

213 of the total 420 properties selected—were in just 11 neighborhoods, 10 all of which are

communities of color, and no property in Staten Island was selected for inclusion. City Council

Report at 14; see also New York City Census Data 2010, NYC Department of Health,

https://on.nyc.gov/3i2y3E7 (last accessed July 30, 2021).

       223.    Defendants’ purported practice of seizing non-distressed properties though the TPT

Program when those properties are physically near a distressed property also plainly targets black

and brown homeowners, who are more likely to live in now-gentrifying communities of color,

where increasing property values create a much higher likelihood that a property owner’s neighbor

will fall sufficiently behind on his or her taxes such that the property is “distressed.”




8
  See Kelly Mena, How Changes to a City Housing Program Could Save Vulnerable Homeowners,
Brooklyn Daily Eagle (July 12, 2019), https://brooklyneagle.com/articles/2019/07/12/third-party-
transfer-reforms/.
9
  See Charles Innis, City Puts On Hold Controversial Home Seizure Program ‘Until Further
Analysis,’ BKReader (Sept. 25, 2019), https://bkreader.com/2019/09/25/city-puts-on-hold-
controversial-third-party-transfer-program-until-further-analysis/.
10
  These neighborhoods are as follows: Mount Hope, Bronx; University Heights-Morris Heights,
Bronx; Bedford, Brooklyn; Bushwick North, Brooklyn; Bushwick South, Brooklyn; Crown
Heights North, Brooklyn; East New York, Brooklyn; Stuyvesant Heights, Brooklyn; Central
Harlem North-Polo Grounds, Manhattan; Central Harlem South, Manhattan; Hamilton Heights,
Manhattan.


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       224.   Of course, those very same properties—i.e., the ones in gentrifying areas

experiencing increases in value—are the most valuable properties for the TPT Defendants and thus

are the ones Defendants target for inclusion in the TPT Program.

       225.   There can be no rational basis for treating two homeowners differently based on the

amount of tax debt owed by their neighbors.

       226.   And doing so is particularly insidious when, as here, it is done with the intention of

exploiting homeowners who live in communities of color.

       227.   Defendants’ abuse of racial minorities through the TPT Program continues a long

history of race discrimination in tax assessment and collection schemes. For example, for more

than a century, federal, state, and local governments have used various schemes to legalize the

seizure of homes from African Americans.          Predatory tax foreclosure systems were used

throughout the Jim Crow era to discriminate against African American homeowners, and this

practice has continued, in various forms, to this day. Historian Andrew Kahrl has noted that

African American communities have been exploited by such schemes since they gained the ability

to purchase property:

       Almost from the moment African Americans ceased to be taxable property and
       began having their property taxed, they became subject to discriminatory
       administrative practices and the victim of structural inequities in its levying and
       enforcement, both of which allow local governments to subtly shift the tax burden
       onto the backs of racial minorities, and in some states created opportunities for real
       estate speculators and investors to prey on hard-pressed homeowners through
       acquiring liens on tax-delinquent properties. 11

       228.   Racist federal, state, and local governmental policies and practices have continued

to perpetuate racial gaps in homeownership long after the Jim Crow era. One example occurred



11
  Andrew W. Kahrl, Unconscionable: Tax Delinquency Sales as a Form of Dignity Taking, 92
Chicago-Kent L. Rev. 905 (2017).


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just outside of New York City, on Long Island. Levittown, a development of 17,500 homes built

after World War II, was financed by the Federal Housing Administration “on condition that . . . it

be all white.”12 Similarly, in the 1940s, New York City facilitated the development of Stuyvesant

Town, a housing complex in Manhattan with 9,000 units that were available to “white people

only.”13 In order to build Stuyvesant Town, New York City condemned and cleared eighteen

square city blocks and transferred the property to the developer, displacing African American and

Puerto Rican residents who were no longer allowed to live in their former neighborhood.

          229.     More recently, a nationwide study analyzing sales and tax assessment data for

approximately 118 million homes found that African American and other minority households pay

over 10 percent more in property taxes each year than white residents. 14 Similarly, lien systems

across the country have a disproportionate impact on minority homeowners. Numerous studies

demonstrate that liens are disproportionately placed on homes in minority communities. An

analysis of liens in New York City for one-to-three family homes in 2016 found that the City was

six times more likely to sell a lien in a majority African American neighborhood than in a majority

white neighborhood.15

          230.     Defendants’ intentional and systemic targeting of homes in minority communities

for seizure through the TPT Program has resulted in a redistribution of property ownership and



12
 Richard Rothstein, The Color of Law: A Forgotten History of How Our Government Segregated
America, at 71 (2017).
13
     Id. at 106.
14
   Andrew Van Dam, Black Families Pay Significantly Higher Property Taxes than White
Families,    New      Analysis     Shows,      Wash.      Post      (July 2,   2020),
https://www.washingtonpost.com/business/2020/07/02/black-property-tax/.
15
   Coalition for Affordable Homes, Compounding Debt: Race, Affordability and NYC’s Tax Lien
Sale, 4-5 (2016), https://s28299.pcdn.co/wp-content/uploads/2014/02/CAH-tax-lien-sale-report-
final.pdf.


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wealth away from individuals that are of African American and/or Hispanic American descent, or

buildings that are owned predominantly by individuals that of African American or Hispanic

American descent, to private companies and partners of the Municipal Defendants, such as the

TPT Defendants.

       Defendants, Acting in Concert, Intentionally Fail to Provide Adequate Notice

       231.    Defendants fail to provide property owners with adequate notice of the impending

seizures of their properties and corresponding Surplus Equity.

       232.    This is intentional because, otherwise, Defendants’ scheme would fail.

       233.    No property owner would knowingly and voluntarily allow his or her property to

be seized to satisfy a tax debt constitutes a small fraction of the property’s value.

       234.    Indeed, even if a property owner owed 50% of the value of his property in Tax

Liens (which is extremely high relative to the actual properties at issue), it would still make no

sense for that property owner to allow Defendants to simply take—for free—his or her Surplus

Equity consisting of the other 50%.

       235.    The fact that Defendants have transferred Surplus Equity worth hundreds of

millions of dollars, if not billions of dollars, from property owners to TPT Defendants effectively

proves that the property owners are not getting adequate notice, as no property owner would

knowingly and willingly sign up for that.

       236.    Defendants also failed to acquire approval from the New York Attorney General,

or provide notice to the New York Attorney General with Court approval, when they divested the

sole asset of numerous HDFCs, including that of Ms. Jones and Ms. Thomas-Murchison’s, as New

York Not-For-Profit Corporation Law §§ 510(a)(3) and 511(b) require.




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        237.     Defendants’ failure to provide adequate notice is reinforced by significant

anecdotal evidence as well.

        238.     None of the Plaintiffs in this case received notice of Defendants’ in rem foreclosure

proceedings, let alone sufficient notice to allow them to appear in and oppose the proceedings.

        239.     As explained above, each of Defendants’ claimed notices to Plaintiffs are deficient

on their face.

        240.     Moreover, not a single property owner showed up to object to the In Rem 53 default

judgment authorizing the seizure of 65 properties, many of which are HDFCs consisting of

numerous individuals.

        241.     However, after the properties were transferred to the TPT Defendants, many

property owners appeared in court to protest the default judgment that was entered without their

knowledge.

        242.     For example, six property owners moved to vacate the In Rem 53 default judgement

and all six property owners asserted that they did not receive notice of the foreclosure proceedings.

        243.     In one case, Municipal Defendants seized a building at 315 Harman Street in

Brooklyn—despite the fact that the owner timely paid all real estate taxes—due to allegedly unpaid

emergency repair liens and numerous code violations. The owner of 315 Harman Street never

received notice of the foreclosure action and contested the City’s claims that the property was

eligible for inclusion in the TPT Program. Justice Partnow vacated the foreclosure judgment,

observing that “it defies logic that [the owner] would willfully ignore notice of an in rem

foreclosure action based on emergency repair liens while consistently paying all of its real estate

taxes.” Indeed, despite Municipal Defendants obtaining a foreclosure judgment against the

property in November 2017, the owner of the property first learned about the seizure in July 2018.




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Justice Partnow further noted that, although the City alleged that the property had numerous

violations, the exhibit the City provided listing the purported violations was actually for a

completely different property located three miles away from the building at 315 Harman Street.

       244.    In another case, the owner of a 19-unit apartment building lost the property to

Neighborhood Restore, and the City opposed the owner’s efforts to vacate the foreclosure

judgment, despite the fact that the City “d[id] not dispute that it never informed [the owner] of the

Judgment of Foreclosure, nor did it inform [the owner] that it did not intend to honor the

Installment Agreement” that it entered into with the owner. As Justice Partnow observed, “[t]he

City could have easily ascertained [the owner’s] correct address due to its filing of this address

with the Secretary of State,” but the City failed to do so.

       245.    Similarly, 1055 Bergen Street Housing Development Fund Corporation (“Bergen

HDFC”), which owned a property worth millions of dollars, with tax debt constituting a small

fraction of the total equity, lost its equity when the building was transferred to Neighborhood

Restore. Bergen HDFC asserted that none of its shareholders were served with notice of the in

rem foreclosure, the summons and complaint, the notice of delinquent taxes, or any other notice

required under the Code.

       246.    Municipal Defendants’ response to each of those property owners who learned

about the foreclosure proceeding only after the fact has been the same: too late. For example, in

appealing Justice Partnow’s decision vacating the foreclosure of several properties, the City’s

position is that no remedy exists for the property owners who lost their properties without notice,

arguing that the “motions to vacate the foreclosures of their properties were time-barred, because

they were made after the expiration of the mandatory redemption period for each property.”




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       247.    In these and other cases, homeowners have first learned about the foreclosures of

their homes within days, weeks, or months of the transfer of their properties to a third party. In

other words, the City has in numerous cases failed to provide notice at any point over a multi-year

foreclosure process, but the Third Party Transfer Partner was able to provide such notice within

mere days, weeks, or months after such transfer became irreversible. Defendants thus clearly knew

that the pre-transfer notice procedures were inadequate because, when Defendants wanted to

inform the (former) homeowners of the status of their (former) homes, Defendants were able to do

so.

       248.    Moreover, as for properties owned by HDFCs, Defendants admit that they did not

make any attempt to provide notice to the individual HDFC shareholders residing within the

HDFC’s building (or any other persons for that matter).

       249.    It is plainly unreasonable for Defendants to rely on HDFCs that they have reason

to know are likely functionally-defunct to distribute notice to individual shareholders. For

example, as set forth in more detail in the “Demand Futility” section below, 585 Nostrand Avenue

HDFC and 248 Madison Street HDFC had both failed to comply with the City’s filing

requirements every year for over twenty years before the City apparently decided that their non-

existent officers and directors of these HDFCs could be relied upon to distribute notice to the

individual shareholders.

       250.    The same is true for many, if not all, of the other HDFC properties seized through

the TPT Program.

       251.    By providing these sham notices to HDFCs, Municipal Defendants have acted in

derogation of their duties to assist HDFCs and their resident shareholders by, among other things,




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providing them with advisory and consultative services “as may be necessary for the efficient and

harmonious management” of HDFCs’ properties. See, e.g. N.Y. Priv. Hous. Fin. Law § 578.


                          FED. R. CIV. P. 23 CLASS ALLEGATIONS

         252.   Plaintiffs seek to maintain this action as a class action pursuant to Fed. R. Civ. P.

23(b)(3), on behalf of those property owners dispossessed of their properties in connection with

an in rem foreclosure proceeding filed by the City pursuant Section 11-401 et seq. of the Code.

         253.   The “In Rem Class” which Plaintiffs seek to define includes:

                All current or former owners of property within the five (5)
                boroughs of New York City who, since 1996 through the final date
                of disposition of this action, had their properties subjected to in rem
                foreclosure proceedings initiated by the City of New York under
                Code § 11-401.1 et seq.

         254.   The number of class members (“Class Members”) who have suffered as a result of

Defendants’ violations of the law, as set forth herein, are too numerous to join in a single action,

necessitating class recognition.

         255.   Numerous questions of fact and law are common to the entire proposed In Rem

Class.

         256.   Specifically, Justice Partnow found that the City’s improperly taking of properties

through the TPT program is a “widespread occurrence being experienced by many other property

owners, who are being inequitably stripped of their valuable property rights.”

         257.   None of the aforementioned claims are specific to Plaintiffs or any proposed In Rem

Class Members, and Plaintiffs’ claims are typical of those asserted by the proposed In Rem Class.

         258.   Plaintiffs will fairly and adequately represent the interests of all members of the

proposed In Rem Class.




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         259.   A class action is superior to all other methods of adjudication and is necessary in

order to fairly and completely litigate the In Rem Class’s claims.

         260.   The Class Members of the proposed In Rem Class are readily discernable and

ascertainable. Contact information for all members of the proposed In Rem Class is readily

available from Municipal Defendants’ records, which they are required to maintain pursuant to

sections 11-416 and 11-417 of the Code. Notice of this class action can be provided by any means

permissible under the Fed. R. Civ. P. 23 requirements.

         261.   Plaintiffs assert these claims on their own behalf as well as on behalf of the In Rem

Class through their attorneys who are experienced in class action litigation as well as real property

and foreclosure defense litigation.

         262.   Plaintiffs are able to fairly represent and properly protect the interests of the absent

members of the proposed In Rem Class and have no interests conflicting with those of the In Rem

Class.

         263.   The public will benefit from this case being brought as a class action because it

serves the interests of judicial economy by saving the Court’s time and effort and by reducing a

multitude of claims to a single litigation. Prosecution of separate actions by individual In Rem

Class Members creates a risk of varying results based on identical fact patterns as well as

disposition of the Class’s interests without their knowledge or contribution.

         264.   The questions of law and fact that are nearly identical for all Class Members make

proceeding as a class action ideal. Without judicial resolution of the claims asserted on behalf of

the proposed In Rem Class, continued violations—including violations of the United States

Constitution, New York State Constitution, NY GBL § 349, and the Code—will undoubtedly

continue.




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       265.    Among other common questions, whether Plaintiffs and members of the In Rem

Class are entitled to just compensation for their Surplus Equity taken through the TPT Program

can readily be resolved through the class action process.

                                     DEMAND FUTILITY

       266.    Plaintiffs Cecelia Jones and Sherlivia Thomas-Murchison are entitled to pursue all

of their claims as direct claims because each suffered damages directly from Defendants’ actions.

       267.    Alternatively, however, Ms. Jones and Ms. Thomas-Murchison bring this action

derivatively—on behalf of 585 Nostrand Avenue HDFC and 248 Madison Street HDFC,

respectively—to redress injuries to the HDFCs as a result of Defendants’ misconduct.

585 Nostrand Avenue HDFC (Cecelia Jones)

       268.    Any demand by Ms. Jones upon 585 Nostrand Avenue HDFC would be futile for

two independent reasons.

       269.    First, the failure of 585 Nostrand Avenue HDFC to seek redress for Defendants’

appropriation of property is so egregious on its face that it could not have been the product of

sound business judgement. The market value of the 585 Nostrand Avenue Property was well in

excess of any Tax Liens that existed when the City foreclosed upon and subsequently transferred

the property to Neighborhood Restore. Because 585 Nostrand Avenue HDFC’s sole business

purpose was to operate the 585 Nostrand Avenue Property, there can be no business purpose for

why 585 Nostrand Avenue HDFC would knowingly allow the sole asset constituting its entire

purpose to be taken. Likewise, there is no reason why 585 Nostrand Avenue HDFC would

voluntarily decline to assert claims against Defendants after Defendants misappropriated hundreds

of thousands of dollars in Surplus Equity from 585 Nostrand Avenue HDFC’s shareholders.




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        270.   Second, 585 Nostrand Avenue HDFC does not have a functioning board of

directors or officers upon whom a demand could be made, or who would be capable of considering

whether to cause 585 Nostrand Avenue HDFC to seek redress from Defendants.

        271.   From September 6, 2018 until the present, there have been no material operations

or other business to address for any officers or directors previously appointed for 585 Nostrand

Avenue HDFC. 585 Nostrand Avenue HDFC was created for the purpose of owning the 585

Nostrand Avenue Property. The 585 Nostrand Avenue Property was foreclosed upon by judgment

dated December 14, 2017, and title was transferred to Neighborhood Restore Housing

Development Fund Corp by deed dated September 6, 2018. No officers or directors have been

appointed to 585 Nostrand Avenue HDFC in at least three years.

        272.   Even before the disposition of the HDFC’s only asset, the City’s records indicate

that 585 Nostrand Avenue HDFC did not have functioning officers or directors.

        273.   For example, despite being required to make bi-annual filings with the City, 585

Nostrand Avenue HDFC has not submitted any filings since February 17, 1993. Defendants thus

had actual knowledge that 585 Nostrand Avenue HDFC had not made the required filings for more

than 20 years before they purported to provide notice to the HDFC’s non-existent directors and/or

officers.

        274.   The only officer of 585 Nostrand Avenue HDFC listed in any public records is

Wilfred Heyliger, who signed several documents on behalf of the HDFC in 1994 and served as its

president. Mr. Heyliger passed away in 2002.

        275.   In addition, according to Municipal Defendants, the City sent Notices of

Foreclosure to 585 Nostrand Avenue HDFC alerting the HDFC that the 585 Nostrand Avenue

Property would be foreclosed upon if the delinquent charges owed to the City were not paid. The




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HDFC did not respond to the Notices of Foreclosure or otherwise attempt to prevent the

foreclosure and transfer of the 585 Nostrand Avenue Property. Given that 585 Nostrand Avenue

HDFC was created for the purpose of owning the 585 Nostrand Avenue Property, the failure to

intervene in the foreclosure proceedings further supports that the HDFC either did not get such

notice or does not have functioning officers or directors.

       276.    Because 585 Nostrand Avenue HDFC does not have functioning officers or

directors upon whom a demand could be made, any attempt to issue such a demand would be futile.

       277.    Ms. Jones will adequately and fairly represent the interests of 585 Nostrand Avenue

HDFC in enforcing and prosecuting its rights.

248 Madison Street HDFC (Sherlivia Thomas-Murchison)

       278.    Any demand by Ms. Thomas-Murchison upon 248 Madison Street HDFC would

be futile for two independent reasons.

       279.    First, the failure of 248 Madison Street HDFC to seek redress for Defendants’

appropriation of property is so egregious on its face that it could not have been the product of

sound business judgment. The market value of the 248 Madison Street Property was well in excess

of any Tax Liens that existed when the City foreclosed upon and subsequently transferred the

property to Neighborhood Restore. Because 248 Madison Street HDFC’s sole business purpose

was to operate the 248 Madison Street Property, there can be no business purpose for why 248

Madison Street HDFC would knowingly allow the sole asset constituting its entire purpose to be

taken. Likewise, there is no reason why 248 Madison Street HDFC would voluntarily decline to

assert claims against Defendants after Defendants misappropriated hundreds of thousands of

dollars in Surplus Equity from 248 Madison Street HDFC’s shareholders.




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        280.   Second, 248 Madison Street HDFC does not have a functioning board of directors

or officers upon whom a demand could be made, or who would be capable of considering whether

to cause 248 Madison Street HDFC to seek redress from Defendants.

        281.   From August 8, 2012 until the present, there have been no material operations or

other business to address for any officers or directors previously appointed for 248 Madison Street

HDFC. 248 Madison Street HDFC was created for the purpose of owning the 248 Madison Street

Property. The 248 Madison Street Property was foreclosed upon by judgment dated November 2,

2011, and the deed was transferred to Neighborhood Restore Housing Development Fund on

August 8, 2012.16 Thus no officers or directors appear to have been appointed to 248 Madison

Street HDFC in at least 9 years.

        282.   Even before its only asset was transferred, 248 Madison Street HDFC did not have

functioning officers or directors.

        283.   For example, despite being required to make bi—annual filings with the City, 248

Madison Street HDFC has not submitted any filings since September 12, 1994. Defendants thus

had actual knowledge that 248 Madison Street HDFC had not made the required filings for more

than 20 years before they purported to provide notice to the HDFC’s non-existent directors and/or

officers.

        284.   Moreover, the only officer of 248 Madison HDFC appearing in any public records

is Margaret Blow, who signed several documents on behalf of the HDFC in 1995 and served as its

treasurer.




16
  The deed to the 248 Madison Street Property was subsequent transferred to Bridge Street on
February 10, 2016.


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         285.   Margaret Blow is Ms. Thomas-Murchison’s mother. She passed away in April

2011, months before the City foreclosed upon the 248 Madison Street Property.

         286.   In addition, according to Municipal Defendants, the City sent Notices of

Foreclosure to 248 Madison Street HDFC alerting the HDFC that the 248 Madison Street Property

would be foreclosed upon if the delinquent charges owed to the City were not paid. The HDFC

did not respond to the Notices of Foreclosure or otherwise attempt to prevent the foreclosure and

transfer of the 248 Madison Street Property. Given that 248 Madison Street HDFC was created

for the purpose of owning the 248 Madison Street Property, the failure to intervene in the

foreclosure proceedings further demonstrates that the HDCF either did not receive such notice or

does not have functioning officers or directors.

         287.   Because 248 Madison Street HDFC does not have functioning officers or directors

upon whom demand could be made, any attempt to issue such a demand would be futile.

         288.   Ms. Thomas-Murchison will adequately and fairly represent the interests of 248

Madison Street HDFC in enforcing and prosecuting its rights.


                                      CAUSES OF ACTION


                                             COUNT I

                   VIOLATION OF THE FIFTH AND FOURTEENTH
                AMENDMENTS TO THE UNITED STATES CONSTITUTION
                                         42 U.S.C. § 1983
                                             TAKING

         289.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         290.   In taking the actions described above, Defendants each are “persons” who acted

“under color of” state law, and/or conspired with such persons, in violation of 42 U.S.C. §1983.


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Defendants have subjected, or caused to be subjected, Plaintiffs to the deprivation of their rights,

privileges, and immunities secured to them by the United States Constitution and law, specifically

the Fifth and Fourteenth Amendments’ prohibition of taking property for public use without the

payment of just compensation.

       291.    TPT Defendants acted under color of state law in accepting properties transferred

to them under the TPT Program. TPT Defendants and Municipal Defendants’ interests are also

intimately intertwined.   Municipal Defendants rely on TPT Defendants to implement their

affordable housing plan—in fact, one of the purported reasons for creating the TPT Program was

precisely because the City was unable to manage all of the foreclosed upon properties that TPT

Defendants are now tasked with managing.          Similarly, TPT Defendants rely on Municipal

Defendants to provide them with valuable properties free of charge. Moreover, there is a close

nexus between the TPT Defendants and Municipal Defendants, including because Municipal

Defendants are effectively subsidizing TPT Defendants, and TPT Defendants purport to perform

a public function through providing affordable housing.

       292.    Defendants’ actions described herein constitute a policy, custom, and/or practice of

taking property for public use without paying just compensation.

       293.    Plaintiffs have been proximately and directly injured by the unlawful actions of

Defendants alleged herein, in violation of clearly established law.

       294.    Through the TPT Program, Defendants have taken Plaintiffs’ Surplus Equity in

their properties and have appropriated this Surplus Equity for public use without the payment of

just compensation.

       295.    Defendants did not pay any compensation to Plaintiffs in exchange for taking their

Surplus Equity.




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         296.    Defendants’ actions violate the rights of Plaintiffs and those similarly situated under

the Takings Clause of the Fifth Amendment to the United States Constitution, as applied to the

states under the Fourteenth Amendment to the United States Constitution.

         297.    Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, including the Surplus Equity of their properties seized pursuant to the TPT Program.

         298.    Plaintiffs are also entitled to an award of attorneys fees and costs pursuant to 42

U.S.C. § 1988.

                                              COUNT II
                VIOLATION OF THE FOURTEENTH AMENDMENT TO THE
                          UNITED STATES CONSTITUTION
                                           42 U.S.C. § 1983
                                      EQUAL PROTECTION

         299.    Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         300.    In taking the actions described above, Defendants each are “persons” who acted

“under color of” state law, and/or conspired with such persons, in violation of 42 U.S.C. §1983.

Defendants have subjected, or caused to be subjected, Plaintiffs to the deprivation of their rights,

privileges, and immunities secured to them by the United States Constitution and law, specifically

the Fourteenth Amendment and its guarantee of equal protection under the law.

         301.    TPT Defendants acted under color of state law in accepting properties transferred

to them under the TPT Program. TPT Defendants and Municipal Defendants’ interests are also

intimately intertwined.      Municipal Defendants rely on TPT Defendants to implement their

affordable housing plan—in fact, one of the purported reasons for creating the TPT Program was

precisely because the City was unable to manage all of the foreclosed upon properties that TPT

Defendants are now tasked with managing.            Similarly, TPT Defendants rely on Municipal


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Defendants to provide them with valuable properties free of charge. Moreover, there is a close

nexus between the TPT Defendants and Municipal Defendants, including because Municipal

Defendants are effectively subsidizing TPT Defendants, and TPT Defendants purport to perform

a public function through providing affordable housing.

        302.   Defendants’ actions described herein constitute a policy, custom, and/or practice of

taking property in violation of the former property owners’ rights to equal protection under the

law.

        303.   Plaintiffs have been proximately and directly injured by the unlawful actions by

Defendants alleged herein, in violation of clearly established law.

        304.   Plaintiffs are members of a suspect class because of their race, specifically African

American, Caribbean American, and/or Hispanic American descent.

        305.   Defendants discriminate against elderly and minority homeowners through their

implementation of the TPT Program, taking Surplus Equity from Plaintiffs and other elderly

minority homeowner who live in communities of color without any compensation.

        306.   Defendants select which properties to include in the TPT Program, and they

intentionally select properties in communities of color owned by elderly and minority

homeowners.

        307.   Defendants’ disparate treatment of otherwise similarly-situated property owners is

also arbitrary and capricious, as there is no rational basis for treating property owners who own

non-distressed properties differently based on whether the properties happen to be on the same tax

lot block as a statutorily distressed property.

        308.   Defendants’ actions violate the rights of Plaintiffs and those similarly situated under

the Equal Protection Clause of the Fourteenth Amendment to the United States Constitution.




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         309.    Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, including the Surplus Equity of their properties seized pursuant to the TPT Program.

         310.    Plaintiffs are also entitled to an award of attorneys fees and costs pursuant to 42

U.S.C. § 1988.

                                             COUNT III
                VIOLATION OF THE FOURTEENTH AMENDMENT TO THE
                          UNITED STATES CONSTITUTION
                                          42 U.S.C. § 1983
                                          DUE PROCESS

         311.    Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         312.    In taking the actions described above, Defendants each are “persons” who acted

“under color of” state law, and/or conspired with such persons, in violation of 42 U.S.C. § 1983.

Defendants have subjected, or caused to be subjected, Plaintiffs to the deprivation of their rights,

privileges, and immunities secured to them by the United States Constitution and law, specifically

the Fourteenth Amendment’s guarantee that Plaintiffs shall not be deprived of property without

due process of law.

         313.    TPT Defendants acted under color of state law in accepting properties transferred

to them under the TPT Program. TPT Defendants and Municipal Defendants’ interests are also

intimately intertwined.      Municipal Defendants rely on TPT Defendants to implement their

affordable housing plan—in fact, one of the purported reasons for creating the TPT Program was

precisely because the City was unable to manage all of the foreclosed upon properties that TPT

Defendants are now tasked with managing.           Similarly, TPT Defendants rely on Municipal

Defendants to provide them with valuable properties free of charge. Moreover, there is a close

nexus between the TPT Defendants and Municipal Defendants, including because Municipal


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Defendants are effectively subsidizing TPT Defendants, and TPT Defendants purport to perform

a public function through providing affordable housing.

         314.    Defendants’ actions described herein constitute a policy, custom, and/or practice of

depriving homeowners of their property without due process of law.

         315.    Plaintiffs and those similarly situated have been proximately and directly injured

by the unlawful action of Defendants alleged herein, in violation of clearly established law.

         316.    As codified, the notice provisions of the TPT Program violate the Due Process

Clause of the and Fourteenth Amendment to the United States Constitution.

         317.    As implemented, the notice provisions of the TPT Program violate the Due Process

Clause of the Fourteenth Amendment to the United States Constitution.

         318.    Defendants’ actions violate the rights of Plaintiffs and those similarly situated under

the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

         319.    Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, which damages include the Surplus Equity of their properties seized pursuant to

the TPT Program.

         320.    Plaintiffs are also entitled to an award of attorneys fees and costs pursuant to 42

U.S.C. § 1988.

                                              COUNT IV
                  VIOLATION OF THE EIGHTH AND FOURTEENTH
                AMENDMENTS TO THE UNITED STATES CONSTITUTION
                                           42 U.S.C. § 1983
                                        EXCESSIVE FINES

         321.    Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.




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       322.    In taking the actions described above, Defendants each are “persons” who acted

“under color of” state law, and/or conspired with such persons, in violation of 42 U.S.C. §1983.

Defendants have subjected, or caused to be subjected, Plaintiffs to the deprivation of their rights,

privileges, and immunities secured to them by the United States Constitution and law, specifically

the Eighth Amendment, as applied to the states under the Fourteenth Amendment, and its

prohibition of excessive fines.

       323.    TPT Defendants acted under color of state law in accepting properties transferred

to them under the TPT Program. TPT Defendants and Municipal Defendants’ interests are also

intimately intertwined.    Municipal Defendants rely on TPT Defendants to implement their

affordable housing plan—in fact, one of the purported reasons for creating the TPT Program was

precisely because the City was unable to manage all of the foreclosed upon properties that TPT

Defendants are now tasked with managing.          Similarly, TPT Defendants rely on Municipal

Defendants to provide them with valuable properties free of charge. Moreover, there is a close

nexus between the TPT Defendants and Municipal Defendants, including because Municipal

Defendants are effectively subsidizing TPT Defendants, and TPT Defendants purport to perform

a public function through providing affordable housing.

       324.    Defendants’ actions described herein constitute a policy, custom, and/or practice of

imposing excessive fines on homeowners who allegedly owe taxes to the City.

       325.    Plaintiffs and those similarly situated have been proximately and directly injured

by the unlawful actions by Defendants alleged herein, in violation of clearly established law.

       326.    Through the TPT Program, Defendants have imposed excessive fines on Plaintiffs

and those similarly situated by taking their Surplus Equity based upon Tax Liens that constitute a




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small fraction of the values of the properties Defendants have taken. Defendants’ conduct violates

the Excessive Fines Clause in the Eighth Amendment to the United States Constitution.

         327.    Seizure and retention of equity far in excess of any Tax Liens on the property is

punitive in nature because it punishes homeowners for owing Tax Liens.

         328.    Seizure and retention of the Surplus Equity cannot be tied to any rational purpose

because it punishes those inversely to the relative amount of their Tax Liens.

         329.    These excessive fines violate the Eighth Amendment rights of Plaintiffs and those

similarly situated.

         330.    Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, including the Surplus Equity of their properties seized pursuant to the TPT Program.

         331.    Plaintiffs are also entitled to an award of attorneys fees and costs pursuant to 42

U.S.C. § 1988.

                                             COUNT V
                   CONSPIRACY TO DEPRIVE PLAINTIFFS OF EQUAL
                          PROTECTION UNDER THE LAW
                                         42 U.S.C. § 1985(3)

         332.    Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above

         333.    Defendants have deprived Plaintiffs and those similarly situated of their rights to

equal protection under the law, among other rights, because of their race, by targeting them to

include their properties in the TPT program and to seize their home equity in excess of any Tax

Lien.

         334.    Defendants engaged in a conspiracy with each other for the purpose of depriving

Plaintiffs and those similarly situated of equal protection under the law.




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       335.    Actions taken by each Defendant in furtherance of the conspiracy deprived

Plaintiffs of equal protection of the laws.

       336.    For example, each Defendant took actions to select Plaintiffs’ properties and the

properties of those similarly situated for inclusion in the TPT Program based on their race of the

property owners. Each Defendant also took actions to seize the Surplus Equity from Plaintiffs and

those similarly situated without compensation.

       337.    Defendants each engaged in other overt acts to further the conspiracy, including the

transfer by Municipal Defendants to the TPT Defendants of Plaintiffs’ Surplus Equity.

       338.    Municipal Defendants have further overtly acted by attempting to conceal the facts

of the transfer from Plaintiffs and those similarly situated in furtherance of the agreement by

deceiving them into not challenging Defendants’ seizures or preventing them from paying off the

Tax Liens that constitute the predicate for Defendants’ seizures.

       339.    Defendants each intentionally participated in the agreement to use the TPT Program

in furtherance of the plan and purpose to expropriate Surplus Equity, primarily from minority

homeowners with properties in communities of color, to deprive Plaintiffs and those similarly

situated of equal protection of the laws.

       340.    Defendants’ conduct has caused financial harm to Plaintiffs and those similarly

situated and is likely to continue to cause financial harm to Plaintiffs and those similarly situated.

Plaintiffs, and those similarly situated, have been damaged in an amount to be proven at trial,

including the Surplus Equity of their properties seized pursuant to the TPT Program.




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                                             COUNT VI
                  VIOLATION OF ARTICLE I, SECTION 7 OF THE NEW
                          YORK STATE CONSTITUTION
                                              TAKING

         341.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         342.   Article I, Section 7 of the New York State Constitution provides that “[p]rivate

property shall not be taken for public use without just compensation.”

         343.   For the same reasons why Defendants’ actions violate the Takings Clause of the

United States Constitution, their conduct also violates Article I, Section 7 of the New York State

Constitution.

         344.   Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, which damages include the Surplus Equity of their properties seized pursuant to

the TPT Program.

                                            COUNT VII
                 VIOLATION OF ARTICLE I, SECTION 11 OF THE NEW
                          YORK STATE CONSTITUTION
                                      EQUAL PROTECTION

         345.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         346.   Article I, Section 11 of the New York State Constitution provides: “No person shall

be denied the equal protection of the laws of this state or any subdivision thereof. No person shall,

because of race, color, creed or religion, be subjected to any discrimination in his or her civil rights

by any other person or by any firm, corporation, or institution, or by the state or any agency or

subdivision of the state.”




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         347.   For the same reasons why Defendants’ actions violate the Equal Protection Clause

of the United States Constitution, their conduct also violates Article I, Section 11 of the New York

State Constitution.

         348.   Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, which damages include the Surplus Equity of their properties seized pursuant to

the TPT Program,

                                           COUNT VIII
                  VIOLATION OF ARTICLE I, SECTION 6 OF THE NEW
                          YORK STATE CONSTITUTION
                                         DUE PROCESS

         349.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         350.   Article I, Section 6 of the New York State Constitution provides that “[n]o person

shall be deprived of life, liberty or property without due process of law.”

         351.   For the same reasons why Defendants’ actions violate the Due Process Clause of

the United States Constitution, their conduct also violates Article I, Section 6 of the New York

State Constitution.

         352.   Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, which damages include the Surplus Equity of their properties seized pursuant to

the TPT Program.

                                            COUNT IX
          VIOLATION OF ARTICLE I, SECTION 5 OF THE NEW YORK STATE
                              CONSTITUTION
                                       EXCESSIVE FINES

         353.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.


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         354.   Article I, Section 5 of the New York State Constitution prohibits the imposition of

excessive fines.

         355.   For the same reasons why Defendants’ actions violate the Excessive Fines Clause

of the United States Constitution, their conduct also violates Article I, Section 5 of the New York

State Constitution.

         356.   Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, which damages include the Surplus Equity of their properties seized pursuant to

the TPT Program.

                                             COUNT X
                                          CONVERSION

         357.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         358.   Plaintiffs, and those similarly situated, held possessory rights or interests in the

properties subject to the TPT program and seizure.

         359.   Defendants intentionally exercised control over Plaintiffs’ properties and the

properties of those similarly situated to the exclusion of the owners’ rights or interests held in the

subject properties.

         360.   Defendants exercise of control over Plaintiffs’ properties and the properties of those

similarly situated is in derogation of their rights to the Surplus Equity of their homes.

         361.   Defendants’ conduct has caused financial harm to Plaintiffs and those similarly

situated and is likely to continue to cause financial harm to Plaintiffs and those similarly situated.

         362.   Plaintiffs, and those similarly situated, have accordingly been damaged in an

amount to be proven at trial.




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                                             COUNT XI
                                     UNJUST ENRICHMENT

          363.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

          364.   Plaintiffs, and those similarly situated, held possessory rights or interests in the

Surplus Equity in the properties subject to the TPT Program seizures.

          365.   Defendants have been enriched by the Surplus Equity they took from Plaintiffs and

those similarly situated.

          366.   Defendants’ enrichment was at Plaintiffs’ expense, as Plaintiffs were deprived of

their Surplus Equity.

          367.   It is against equity and good conscience to permit Defendants to retain the Surplus

Equity.

                                            COUNT XII
                                    DECEPTIVE PRACTICES
                                 VIOLATION OF NY GBL § 349

          368.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

          369.   Defendants’ conduct in administering the TPT Program has constituted a deceptive

act and practice in violation of NY GBL § 349.

          370.   Defendants’ conduct in administering the TPT Program has been consumer-

oriented because their misleading practices implicate the public interest and constitute repeated,

deceptive practices.

          371.   Defendants’ conduct in administering the TPT Program has been misleading in a

material way. For example, Defendants have, through deceit, acquired Plaintiffs’ Surplus Equity




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and have not provided Plaintiffs, or those similarly situated, with constitutionally required due

process or any mechanism to recover the value of their Surplus Equity.

       372.    Plaintiffs, and those similarly situated, have suffered injuries as a result of

Defendants’ deceptive acts. For example, Plaintiffs and those similarly situated have lost their

Surplus Equity.

       373.    Plaintiffs and those similarly situated have suffered damages in an amount to be

proven at trial, which damages include the Surplus Equity.

                                           COUNT XIII
     VIOLATION OF ARTICLE II SECTIONS 10-11 OF THE NEW YORK STATE
                     MUNICIPAL HOME RULE LAW
                               (Against the Municipal Defendants)

       374.    Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above, with the same force and effect as if more fully set forth at length herein.

       375.    As set forth herein, Municipal Defendants’ conduct constitutes ultra vires activity

exceeding the lawful authority expressly, actually, or implicitly granted to the City by New York

State’s Legislature.

       376.    Further, as set forth herein, Municipal Defendants’ conduct constitutes ultra vires

activity because their conduct failed to adhere to the letter and spirit of the Code when it instituted

in rem proceedings against properties that did not meet the statutory definition of “distressed”

under the Code, and by otherwise deviating from the requirements of the Code and other applicable

law in their execution and administration of the Third Party Transfer Program.

       377.    Plaintiffs, and those similarly situated, have been damaged as a result of Municipal

Defendants’ misconduct in an amount to be proven at trial.




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                                           COUNT XIV
                                      CIVIL CONSPIRACY

         378.   Plaintiffs repeat and reiterate each and every allegation contained in the paragraphs

above.

         379.   Defendants have individually committed numerous torts, including each

constitutional tort provided herein (conversion, unjust enrichment, deceptive business practices in

violation of GBL § 349, and violation of the Municipal Home Rule Law).

         380.   TPT Defendants and Municipal Defendants have formed agreements relating to

their participation and roles in the TPT Program, including Municipal Defendants’ agreement to

transfer properties to TPT Defendants, and TPT Defendants’ agreement to accept those properties,

foreclosed upon pursuant to the TPT Program. In addition, as described above, TPT Defendants

and Municipal Defendants coordinate before foreclosure concerning the selection of properties for

inclusion in the TPT Program. Defendants’ agreements include targeting Plaintiffs and other racial

minorities to expropriate their Surplus Equity.

         381.   Defendants have each committed overt acts in furtherance of this agreement,

including the selection of properties for inclusion in the TPT program and the transfer (from

Municipal Defendants) and receipt (by the TPT Defendants) of Plaintiffs’ properties.

         382.   Defendants have further overtly acted by attempting to conceal the facts of the

transfer from Plaintiffs and those similarly situated in furtherance of their conspiracy.

         383.   Defendants each intentionally participated in the agreement in furtherance of the

plan and purpose to expropriate Surplus Equity from Plaintiffs and those similarly situated.

         384.   Defendants’ conduct has caused financial harm to Plaintiffs and those similarly

situated in an amount to be proven at trial, including the amount of their Surplus Equity.




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                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs and those similarly situated demand judgment against

Defendants as follows:

        A.      A finding that, at the earliest possible time, Plaintiffs should be allowed to give

notice of this putative Class Action, or the Court should issue such notice, to all members of the

putative class defined herein. Such notice shall inform them that this civil action has been filed,

of the nature of the action, and of their right to opt out of this lawsuit;

        B.      In the event that any claims brought by Ms. Jones are not maintainable as direct

claims, a finding that demand on 248 Madison Street HDFC would be futile, and that Ms. Jones

may bring such claims derivatively on behalf of 248 Madison Street HDFC.

        C.      In the event that any claims brought by Ms. Thomas-Murchison are not

maintainable as direct claims, a finding that demand on 585 Nostrand Avenue HDFC would be

futile, and that Ms. Thomas-Murchison may bring such claims derivatively on behalf of 585

Nostrand Avenue HDFC.

        D.      Designation of Plaintiffs as representatives of the Rule 23 Class defined herein, and

Plaintiffs’ counsel as Class Counsel;

        E.      Certification of this action as a class action pursuant to Fed. R. Civ. P. 23 for the

purposes of the claims brought on behalf of all proposed Class Members;

        F.      Granting Plaintiffs a jury trial on all issues so triable, including to determine

liability and damages;

        G.      An award of all damages which Plaintiffs and all Class Members have sustained as

a result of Defendants’ conduct, including compensatory damages—e.g., the value of the seized




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properties less the amount of any outstanding Tax Liens—consequential damages, punitive

damages, penalties, and general and special damages caused by Defendants’ unlawful practices;

       H.      An award to Plaintiffs, and all Class Members, of pre-judgment interest at the

highest applicable rate;

       I.      An award to Plaintiffs, and all Class Members, of post-judgment interest at the

highest applicable rate;

       J.      An award to Plaintiffs, and all Class Members, of their costs and disbursements

incurred in connection with this action, including reasonable attorneys’ fees, expert witness fees,

and other fees and costs;

       K.      An award to Plaintiffs, and all Class Members, of any and all other pre-judgment

and post-judgment interest, as provided by law; and

       L.      Granting Plaintiffs, and all Class Members, such other and further relief as this

Court finds just and proper.


                               DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury on all issues so triable, including liability and damages.




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Dated: September 20, 2021

                                                Respectfully submitted,




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